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NATIONAL CRIME VICTIM LAW INSTITUTE 310. SW ath Ave., Suite 540, Posthanel, OR 07204
NEW YORK VICTIMS’ RIGHTS LAWS!

   

 
    

 

Constitution

New York does not have a victims' rights amendment to its constitution.

McKinney’s Executive Law; Article 23, Fair Treatment Standards for Crime Victims

§ 640 — Fair Treatment Standards for Crime Victims

1. The commissioner of the division of criminal justice services, in consultation with the
director of the office of victim services and other appropriate officials, shall promulgate
standards for the treatment of the innocent victims of crime by the agencies which
comprise the criminal justice system of the state.

2. For the purposes of this article the term “criminal justice” shall include juvenile justice and
the objectives and criteria set forth in sections six hundred forty-one and six hundred forty-
two of this article shall apply to presentment agencies as defined in subdivision twelve of
section 301.2 of the family court act.

§ 641 — Objectives of Fair Treatment Standards
The object of such fair treatment standards shall be to:

1. Ensure that crime victims routinely receive emergency social and medical services as soon
as possible and are given information pursuant to section six hundred twenty-five-a of this
chapter on the following:

(a) availability of crime victim compensation;

(b) availability of appropriate public or private programs that provide counseling,
treatment or support for crime victims, including but not limited to the following: rape
crisis centers, victim/witness assistance programs, elderly victim services, victim
assistance hotlines and domestic violence shelters;

(c) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them; and

(d) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained.

 

1 Not intended to be exhaustive.
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2. Ensure routine notification of a victim or witness as to steps that law enforcement officers
or district attorneys can take to protect victims and witnesses from intimidation.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate official
with a current address and telephone number, either by phone or by mail, if possible, of
judicial proceedings relating to their case, including:

(a) the arrest of an accused;
(b) the initial appearance of an accused before a judicial officer;
(c) the release of an accused pending judicial proceedings; and

(d) proceedings in the prosecution of the accused including entry of a plea of guilty, trial,
sentencing, but prior to sentencing specific information shall be provided regarding the
right to seek restitution and reparation, and where a term of imprisonment is imposed,
specific information shall be provided regarding maximum and minimum terms of such
imprisonment.

§ 642 — Criteria for Fair Treatment Standards
Such fair treatment standards shall provide that:

1. The victim of a violent felony offense, a felony involving physical injury to the victim, a
felony involving property loss or damage in excess of two hundred fifty dollars, a felony
involving attempted or threatened physical injury or property loss or damage in excess of
two hundred fifty dollars or a felony involving larceny against the person shall, unless he
or she refuses or is unable to cooperate or his or her whereabouts are unknown, be
consulted by the district attorney in order to obtain the views of the victim regarding
disposition of the criminal case by dismissal, plea of guilty or trial. In such a case in which
the victim is a minor child, or in the case of a homicide, the district attorney shall, unless
the family refuses or is unable to cooperate or his, her or their whereabouts are unknown,
consult for such purpose with the family of the victim. In addition, the district attorney
shall, unless he or she (or, in the case in which the victim is a minor child or a victim of
homicide, his or her family) refuses or is unable to cooperate or his, her or their
whereabouts are unknown, consult and obtain the views of the victim or family of the
victim, as appropriate, concerning the release of the defendant in the victim's case pending
judicial proceedings upon an indictment, and concerning the availability of sentencing
alternatives such as community supervision and restitution from the defendant. The failure
of the district attorney to so obtain the views of the victim or family of the victim shall not
be cause for delaying the proceedings against the defendant nor shall it affect the validity
of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

2-a. (a) All police departments, as that term is defined in subdivision a of section eight
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hundred thirty-seven-c of this chapter, district attorneys' offices and presentment
agencies, as that term is defined in subdivision twelve of section 301.2 of the family
court act, shall provide a private setting for interviewing victims of a crime defined in
article one hundred thirty or section 255.25, 255.26, or 255.27 of the penal law. For
purposes of this subdivision, "private setting" shall mean an enclosed room from
which the occupants are not visible or otherwise identifiable, and whose conversations
cannot be heard, from outside such room. Only (i) those persons directly and
immediately related to the interviewing of a particular victim, (ii) the victim, (iii) a
social worker, rape crisis counselor, psychologist or other professional providing
emotional support to the victim, unless the victim objects to the presence of such
person and requests the exclusion of such person from the interview, and (iv) where
appropriate, the parent or parents of the victim, if requested by the victim, shall be
present during the interview of the victim.

(b) All police departments, as that term is defined in subdivision a of section eight hundred
thirty-seven-c of this chapter, shall provide victims of a crime defined in article one
hundred thirty of the penal law with the name, address, and telephone of the nearest
rape crisis center in writing.

. Law enforcement agencies and district attorneys shall promptly return property held for
evidentiary purposes unless there is a compelling reason for retaining it relating to proof at
trial.

. The victim or witness who so requests shall be assisted by law enforcement agencies and
district attorneys in informing employers that the need for victim and witness cooperation
in the prosecution of the case may necessitate absence of that victim or witness from work.
In addition, a victim or witness who, as a direct result of a crime or of cooperation with
law enforcement agencies or the district attorney in the investigation or prosecution of a
crime is unable to meet obligations to a creditor, creditors or others should be assisted by
such agencies or the district attorney in providing to such creditor, creditors or others
accurate information about the circumstances of the crime, including the nature of any loss
or injury suffered by the victim, or about the victim's or witness' cooperation, where
appropriate.

. Victim assistance education and training, with special consideration to be given to victims
of domestic violence, sex offense victims, elderly victims, child victims, and the families
of homicide victims, shall be given to persons taking courses at state law enforcement
training facilities and by district attorneys so that victims may be promptly, properly and
completely assisted.

§ 642a — Fair Treatment of Child Victims as Witnesses

To the extent permitted by law, criminal justice agencies, crime victim-related agencies, social
services agencies and the courts shall comply with the following guidelines in their treatment of
child victims:

1. To minimize the number of times a child victim is called upon to recite the events of the

case and to foster a feeling of trust and confidence in the child victim, whenever
practicable and where one exists, a multi-disciplinary team as established pursuant to
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subdivision six of section four hundred twenty-three of the social services law and/or a
child advocacy center shall be used for the investigation and prosecution of child abuse
cases involving abuse of a child, as described in paragraph (i), (ii) or (iii) of subdivision (e)
of section one thousand twelve of the family court act, sexual abuse of a child or the death
of a child.

. Whenever practicable, the same prosecutor should handle all aspects of a case involving an
alleged child victim.

. To minimize the time during which a child victim must endure the stress of his
involvement in the proceedings, the court should take appropriate action to ensure a speedy
trial in all proceedings involving an alleged child victim. In ruling on any motion or
request for a delay or continuance of a proceeding involving an alleged child victim, the
court should consider and give weight to any potential adverse impact the delay or
continuance may have on the well-being of the child.

. The judge presiding should be sensitive to the psychological and emotional stress a child
witness may undergo when testifying.

. In accordance with the provisions of article sixty-five of the criminal procedure law, when
appropriate, a child witness as defined in subdivision one of section 65.00 of such law
should be permitted to testify via live, two-way closed-circuit television.

. In accordance with the provisions of section 190.32 of the criminal procedure law, a person
supportive of the "child witness” or "special witness" as defined in such section should be
permitted to be present and accessible to a child witness at all times during his testimony,
although the person supportive of the child witness should not be permitted to influence
the child's testimony.

. A child witness should be permitted in the discretion of the court to use anatomically
correct dolls and drawings during his testimony.

§ 643 — Fair Treatment Standards for Crime Victims; Agencies Generally

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As used in this section, "crime victim-related agency" means any agency of state
government which provides services to or deals directly with crime victims, including
(a) the office of children and family services, the office for the aging, the division of
veterans affairs, and correctional alternatives the division of parole, office of victim
services the department of motor vehicles, the office of vocational rehabilitation, the
workers' compensation board, the department of health, the division of criminal justice
services, the office of mental health, every transportation authority and the division of
state police, and (b) any other agency so designated by the governor within ninety days
of the effective date of this section.

. Each crime victim-related agency shall review its practices, procedures, services,
regulations and laws to determine the adequacy and appropriateness of its services with
respect to crime victims, including victims with special needs, particularly the elderly,
disabled or victims of child abuse, domestic violence or sex-related offenses. Such review
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shall include reasonable opportunity for public comment and consultation with crime
victims or their representatives, and may include public hearings.

3. After the review, and not later than one hundred eighty days after the effective date of this
section, each crime victim-related agency shall submit a report to the governor and the
legislature, setting forth the findings of the review including a description of the
services provided by the agency and recommendations for changes in its practices,
procedures, services, regulations and laws to improve its services to crime victims and
to establish and implement fair treatment standards for crime victims.

4. Subject to the direction of the governor, and to the extent practicable, each crime
victim-related agency shall expeditiously implement the recommendations of its report.

§ 644 — Implementation

The commissioner of the division of criminal justice services and the director of the office of
victim services shall assist criminal justice agencies in implementing the guidelines promulgated
by the commissioner.

§ 645 — Fair Treatment Standards for Crime Victims in the Courts

The chief administrator of the courts, in consultation with the commissioner of the division of
criminal justice services, the director of the office of victim services and other appropriate
officials, shall promulgate standards for the treatment of the innocent victims of crime by the
unified court system. These standards shall conform to and be consistent with the regulations
promulgated pursuant to section six hundred forty of this article.

§ 646 — Police Reports

1. A victim of crime shall be entitled, regardless of physical injury, without charge to a copy
of a police report of the crime.

2. An individual whose identity was assumed or whose personal identifying information, as
defined in section 190.77 of the penal law, was used in violation of section 190.78, 190.79
or 190.80 of the penal law, or any person who has suffered a financial loss as a direct result
of the acts of a defendant in violation of section 190.78, 190.79, 190.80, 190.82 or 190.83
of the penal law, who has learned or reasonably suspects that his or her personal
identifying information has been unlawfully used by another, may make a complaint to the
local law enforcement agency of the county in which any part of the offense took place
regardless of whether the defendant was actually present in such county, or in the county in
which the person who suffered financial loss resided at the time of the commission of the
offense, or in the county where the person whose personal identification information was
used in the commission of the offense resided at the time of the commission of the offense
as provided in paragraph (1) of subdivision four of section 20.40 of the criminal procedure
law. Said local law enforcement agency shall take a police report of the matter and provide
the complainant with a copy of such report free of charge.
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§ 646 — Objectives
The object of these fair treatment standards shall be to:
1. Ensure that crime victims are given information on the following:

(a) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them;

(b) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained; and

(c) how the court can address the needs of the victims at sentencing.

2. Ensure routine notification of a victim or witness as to steps that the court can take to
protect victims and witnesses from intimidation, including the issuance of orders of
protection and temporary orders of protection.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate court
official with a current address and telephone number, either by phone or by mail, if
possible, of judicial proceedings relating to their case, including:

(a) the initial appearance of an accused before a judicial officer;

(b) the release of an accused pending judicial proceedings;

(c) proceedings in the prosecution of the accused, including entry of a plea of guilty, trial,
sentencing, and where a term of imprisonment is imposed, specific information shall be
provided regarding maximum and minimum terms of such imprisonment; and

(d) the reversal or modification of the judgment by an appellate court.

§ 646-a — Information Relative to the Fair Treatment Standards; Pamphlet
1. The district attorney shall provide the victim, at the earliest time possible, with an
informational pamphlet detailing the rights of crime victims which shall be prepared by the
division of criminal justice services in consultation with the director of the office of victim

services and distributed to each district attorney's office.

2. The pamphlet shall summarize provisions of this article. It shall also include specific
information with appropriate statutory references on the following:

(a) the rights of crime victims to compensation and services;

(b) the rights of crime victims to routine notification of judicial proceedings relating to
their case as provided in section six hundred forty-one of this article, in section 330.20,
and section 440.50 of the criminal procedure law and section one hundred forty-nine-a
of the correction law;
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(c) the rights of crime victims to be protected from intimidation and to have the court,
where appropriate, issue protective orders as provided in sections 530.12 and 530.13 of
the criminal procedure law and sections 215.15, 215.16 and 215.17 of the penal law;

(d) the rights of crime victims to submit, where appropriate, a victim impact statement for
the pre-sentencing report and the parole hearing as provided in section 390.30 of the
criminal procedure law and section two hundred fifty-nine-i of this chapter;

(e) the rights of crime victims, where a defendant is being sentenced for a felony, to
request the right to make a statement at the time of sentencing as provided in section
380.50 of the criminal procedure law; and

(f) the rights of crime victims to request restitution and have the district attorney present
such request to the court and assist the crime victim in the filing and collection of a
restitution order in cooperation with the designated agency of the court as provided in
section 420.10 of the criminal procedure law and section 60.27 of the penal law.

(g) the rights of crime victims to be aware of the defendant's incarceration status by
providing the division of parole's contact information, including the division's toll-free
telephone number, as provided for in subdivision two of section two hundred fifty-
nine-i of this chapter. Such notice shall advise the crime victim to use the division's
toll-free telephone number to update contact information.

. This pamphlet shall provide space for the insertion of the following information:
(a) the address and phone number of the office of victim services;
(b) the address and phone numbers of local victim service programs, where appropriate;

(c) the name, phone number and office location of the person in the district attorney's
office to whom inquiries concerning the victims case may be directed; and

(d) any other information the division deems appropriate.

. (a) The commissioner of the division of criminal justice services in consultation with the
director of the office of victim services shall develop and prepare a standardized form for
the use of district attorney offices for the purpose of reporting compliance with this
section. The form is to be distributed to each district attorney. Every district attorney's
office in the state shall complete the reporting form annually and send it to the director of
the office of victim services by the first day of January each year subsequent to the
effective date of this subdivision.

(b) A copy of the report shall be retained by the district attorney and upon request, a victim
of a crime or relative of a victim shall be entitled to receive from the district attorney a
copy of their district attorney's annual report without charge. Any other person
requesting a copy of the report shall pay a fee not to exceed the actual cost of
reproduction.
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§ 647 — Criteria

Fair treatment standards for crime victims in the courts shall provide that:

1. The court shall consider the views of the victim of a violent felony offense, a felony
involving physical injury to the victim, a felony involving property loss or damage in
excess of two hundred fifty dollars, a felony involving attempted or threatened physical
injury or property loss or damage in excess of two hundred fifty dollars or a felony
involving larceny against the person, or of the family of a homicide victim or minor child,
regarding discretionary decisions relating to the criminal case, including, but not limited to,
plea agreements and sentence. In addition, the court shall consider the views of the victim
or family of the victim, as appropriate, concerning the release of the defendant in the
victim's case pending judicial proceedings upon an indictment, and concerning the
availability of sentencing alternatives such as community supervision and restitution from
the defendant. The failure of the court to consider the views of the victim or family of the
victim shall not be cause for delaying the proceedings against the defendant nor shall it
affect the validity of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

3. The court shall assist in and expedite the return of property held for evidentiary purposes
unless there is a compelling reason for retaining it relating to proof at trial.

4. Victim assistance education shall be given to judicial and nonjudicial personnel of the
unified court system so that victims may be promptly, properly and completely assisted.

§ 648 — Review; Report and Implementation

1. The chief administrator of the unified court system shall review court practices,
procedures, services, regulations and laws to determine the adequacy and appropriateness
of its services with respect to crime victims, including victims with special needs,
particularly the elderly, disabled or victims of child abuse, domestic violence or sex-related
offenses. Such review shall include reasonable opportunity for public comment and
consultation with crime victims or their representatives, and may include public hearings.

2. After the review, and not later than two hundred seventy days after the effective date of
this section, the chief administrator of the unified court system shall submit a report to the
governor and the legislature, setting forth the findings of the review, including a
description of the services provided by the components of the unified court system and
recommendations for changes in its procedures, services, regulations and laws to improve
its services to crime victims and to establish and implement fair treatment standards for
crime victims.

3. Subject to the direction of the chief administrator, the components of the unified court
system shall expeditiously implement the recommendations of its report.

§ 649 — Miscellaneous
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Magazine

Cyrus Vance Jr.’s ‘Moneyball’ Approach to
Crime

By CHIP BROWN _ODEC. 3, 2014

A glance at New York City crime statistics might lead you to conclude that Cyrus
Vance Jr., the district attorney of New York County, no longer works in what William
Travers Jerome, who held the job more than a century ago, once called “the mouth of
hell.” Nowhere have declining crime trends been more striking than in Manhattan,
where last year burglaries, shootings and murders were the lowest since the city
began keeping formal records in the early 1960s; so far this year, statistically
speaking, the epidemic of civility rages on. It’s still a shock — where did Gotham go,
the dangerous dark of nighttime Central Park, the East Village addicts brandishing
box cutters, the cardsharps and sallow denizens of Times Square, which now seems
overrun by Elmo impersonators and wide-eyed naifs in fanny packs?

Vance is the fourth elected district attorney in 75 years to head what has been
hailed as the model ministry of criminal justice since the arrival in 1935 of Thomas
E. Dewey, who made a name for himself as the Gangbuster and established the
office’s tradition of nonpartisan professionalism. He was succeeded by Frank S.
Hogan, Mr. Integrity, who served for 32 years and stepped aside in December 1973,
just three months before his death. After a special election, Robert M. Morgenthau, a
former federal prosecutor from the Southern District of New York, began his 35-year
reign. At the time, Morgenthau recalled recently, crime was “endangering the
economic and social viability of the city.” He added dozens of detectives to the staff,
boosted salaries and hired accountants to tackle white-collar crime. One of his major
innovations was to “vertically integrate” prosecutions so that one assistant D.A.

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handled a case from arraignment to trial. There were 648 murders in Manhattan in
the first year of Morgenthau’s tenure; in 2009, when he retired, there were 59.

Campaigning on the themes of enhancing safety and fairness, and lifted by
Morgenthau’s endorsement, Vance won a three-way primary race for the D.A.'s
office in 2009 and then carried the general election. In November 2013, he was re-
elected with only token opposition. With violent crime at historic lows since its peak
in the early 1990s, you might think being D.A. today is an afternoon nap compared
with when Dewey was tilting at municipal corruption and trying gangsters like Lucky
Luciano; or when Hogan was courting controversy with prosecutions of Lenny Bruce
and antiwar demonstrators at Columbia University; or when Morgenthau was
running the show with civil society hanging by a thread.

And to be sure, at the start of his second term in January, Vance was still intent
on answering the questions he confronted when he first sought the job of overseeing
535 lawyers in the mouth of hell (which even with the recent renovations is still
suffused with the purgatorial gloom of Manhattan’s massive Criminal Courts
Building, where most of the offices of the D.A. are housed and where a power failure
caused by a hurricane can produce a Dickensian tableau of prosecutors handwriting
charging documents by candlelight). In an era of low crime, what was the job of the
D.A.? Who was to say the city couldn’t be any safer, or what anti-crime ideas and

utopian dreams were too far-fetched to pursue?

In 2010, at the start of his first term, Vance drew up a list of 20 things to do;
four years later he had checked them all off, except for learning Spanish. He helped
create a new court that offered alternatives to prison for mentally ill defendants
whose crimes might have stemmed from treatable conditions. He set up a
“conviction integrity program,” which reviewed innocence claims in more than 160
cases and vacated four convictions. He pushed to raise the age of criminal
responsibility to 18 — New York and North Carolina are the only states that treat 16-
year-olds as adults. He lobbied for the New York’s All Crimes DNA law, which
doubled the kinds of crimes for which DNA evidence could be collected. He focused
on crimes where the numbers in New York were going the wrong way: computer
fraud, identity theft, abuse of the elderly and domestic violence. He reorganized
office units and bureaus and shaved nine hours off the time between arrest and

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arraignment, freeing up cops who used to have to wait so long to give statements
that they would sometimes bring lawn chairs to the intake area in order to have a
place to sit. Drunken-driving dismissals, according to the D.A.'s office, were down 81
percent; cases tossed because prosecutors violated speedy-trial rules were down 91
percent. Felony conviction rates, which were lower in Manhattan in 2009 than in the

other four boroughs, now trailed only the conviction rate in Queens.

But Vance’s most significant initiative, one that has been emulated in
jurisdictions from Brooklyn to San Francisco, has been to transform, through the use
of data, the way district attorneys fight crime. “The question I had when I came in
was, Do we sit on our hands waiting for crime to tick up, or can we do something to
drive crime lower?” Vance told me one afternoon in his eighth-floor office at the
Criminal Courts Building in Lower Manhattan. “I wanted to develop what I call

intelligence-driven prosecution.”

Preparing to run in 2009, Vance studied “community-based prosecution”
programs in Washington and consulted with experts in Milwaukee and San
Francisco. The concept of expanding prosecution strategies to address neighborhood
concerns emerged in the early 1990s as prosecutors and police departments
grappled with an epidemic of violence, drug abuse and “quality of life” issues.
Inspired by “broken windows” policing strategies advocated by William J. Bratton,
who at the time was head of the city’s transit cops and is now the New York City
police commissioner, D.A.s began to prosecute offenses once considered small
potatoes. The iconic example in New York was the campaign against the “squeegee

men” cleaning car windshields when drivers were trapped in traffic.

The community focus was effective as far as it went, but there had been a
revolution in the use of data over the last 20 years in areas as disparate as retailing,
baseball and, in the prime example of the N.Y.P.D.'s CompStat program, policing;
Vance thought prosecutors should get in on it. He sat down with a whiteboard, a cup
of coffee and one of his first hires, an imaginative, dark-haired lawyer named
Chauncey Parker, 54, who started his career under Morgenthau, spent a decade as a
United States attorney and now, as Vance’s executive assistant D.A. for crime-
prevention strategies, had the job of dreaming up ideas, no matter how outlandish,
that might reduce crime. It was glaringly evident to both men that assistant D.A.s

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fielding the 105,000-plus cases a year in Manhattan seldom had enough information
to make nuanced decisions about bail, charges, pleas or sentences. They were
narrowly focused on the facts of cases in front of them, not on the people committing
the crimes. They couldn’t quickly sort minor delinquents from irredeemably bad
apples. They didn’t know what havoc defendants might be wreaking in other
boroughs.

By May 2010, Parker and Vance had roughed out the structure of the so-called
Crime Strategies Unit (C.S.U.). They divided Manhattan’s 22 police precincts into
five areas and assigned a senior assistant D.A. and an analyst to map the crime in
each area. C.S.U. staff members met with patrol officers, detectives and Police
Department field intelligence officers. They asked police commanders to submit a
list of each precinct’s 25 worst offenders — so-called crime drivers, whose
“incapacitation by the criminal-justice system would have a positive impact on the
community’s safety.” Seeded with these initial cases, the C.S.U. built a searchable
database that now includes more than 9,000 chronic offenders, virtually all of whom
have criminal records. A large percentage are recidivists who have been repeatedly
convicted of grand larceny, one of the top index crimes in Manhattan, but the list
also includes active gang members, people whom the D.A. considers “uncooperative
witnesses,” and a fluctuating number of violent “priority targets,” which currently
stands at 81.

But assembling data was meaningless without a timely way of distributing it. In-
house software programmers made key refinements to what is now considered the
nerve center of the office, the Arrest Alert System. When someone in the Arrest Alert
System is picked up, even on a minor charge or a parole violation, or is arrested in
another borough, any interested prosecutor is automatically pinged with a detailed
email. People outside the D.A.'s office like parole officers or police intelligence
officers are often notified, too. The database can be programmed to send arrest alerts
for a particular defendant, a particular gang, a particular neighborhood or housing
project, and can be sorted to highlight patterns of crime from bike theft to homicide.

“These are people we want to know about if they are arrested,” says Kerry
Chicon, who started as the Crime Strategies Unit prosecutor in Area 3 and was
promoted to C.S.U. chief in January. “We are constantly adding, deleting, editing

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and updating the intelligence in the Arrest Alert System. If someone gets out of a
gang, or goes to prison for a long time, or moves out of the city or the state, or ages
out of being a focus for us, or dies, we edit the system accordingly — we do that all
the time.”

Chicon, a 43-year-old mother of four, usually starts her morning reviewing the
night’s haul of 30 to 35 arrest alert emails as she drops her kids off at school. “C.S.U.
prosecutors don’t have to try cases — our job is to help assistant district attorneys
understand whom they are prosecuting,” she says. “Every morning, I talk to my five
A.D.A.s, who are experts in their areas. We decide whom we should try to pull out for
a debriefing. We don’t debrief people arrested for felonies because we don’t want to
compromise a case. We pull people arrested on low-level misdemeanor charges,
maybe two or three a week. We read them their Miranda rights. About 80 percent of
them will talk. If you speak to a 16-year-old, they might tell you, ‘This kid is running
things, this kid is a hanger-on.’ That’s how we find out information like whether a
gang has changed their name. We took down the Flow Boyz gang at the Robert F.
Wagner housing project in 2012. But a lot of those gang members have aged out, and
now there’s a new group of 14- and 15-year-olds who want their own set name.
Through debriefings, we learned they call themselves Only the Wagner.”

The Arrest Alert System was the first of four programs created or tweaked by the
C.S.U. using a combination of in-house technology and commercial software. The
DANY (the District Attorney of New York) InPho program analyzes recorded inmate
phone calls from Rikers Island. SCIM (the Surveillance Camera Interactive Map)
shows the locations of and contact information for some 6,000 public and private
surveillance cameras in Manhattan, making it possible for prosecutors to know
whom to call at the 109th Street and Madison Avenue Dunkin’ Donuts if they want to
see what was recorded on the camera behind the cash register.

C.S.U. “violence timelines” reveal patterns around certain housing
developments and neighborhoods, including shooting incidents that didn’t generate
a police report but that prosecutors were able to substantiate through debriefings or
reports on social media. Probably the most comprehensive database is the Crime
Prevention System, which targets violent crimes and gathers on one spreadsheet the
sort of information that used to be scattered on legal pads or parked in some retired

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detective’s head — details about a defendant, including nicknames, which can be
linked to additional information: friends, tattoos, telltale scars, Facebook entries,
geo-coded street addresses, debriefing tips, excerpts from jailhouse phone calls.

“It’s the ‘Moneyball’ approach to crime,” Parker told me. “The tool is data; the
benefit, public safety and justice — whom are we going to put in jail? If you have 10
guys dealing drugs, which one do you focus on? The assistant district attorneys know
the rap sheets, they have the police statements like before, but now they know if you
lift the left sleeve you'll find a gang tattoo and if you look you'll see a scar where the
defendant was once shot in the ankle. Some of the defendants are often surprised we

know so much about them.”

In speeches praising intelligence-driven prosecution, Vance often cites the case
of a 270-pound scam artist named Naim Jabbar, who for more than a decade made a
living in the Times Square area bumping into pedestrians and then demanding
money, saying they had broken his glasses. Convicted 19 times on the misdemeanor
charge of “fraudulent accosting,” Jabbar never served more than five months in jail
until he was flagged by the C.S.U. His next arrest, in July 2010, triggered an alert.
Instead of being offered a plea bargain, he was indicted and subsequently convicted
on a felony robbery charge, and sentenced to three and a half to seven years in
prison. With time served before his conviction, he was soon paroled and then
arrested again, in July 2014, for another broken-eyeglasses incident and charged
with robbery and grand larceny.

More broadly, working with the Police Department and following a plan based
on information developed by the C.S.U., the Violent Criminal Enterprises Unit,
which Vance created in his first term, began taking down the most violent of
Manhattan’s roughly 30 gangs; since 2011, 17 gangs have been dismantled, including
three broken up last June at the Manhattanville and Grant housing projects,
resulting in the largest number of gang indictments in a single operation. “There’s a
reason murders in Manhattan went from 70 in 2010 to 29 so far this year,” Karen
Friedman Agnifilo, former chief of the Trial Division, told me late last year. (In
January, Vance promoted Friedman Agnifilo to the No. 2 job, chief assistant district
attorney.) “We figured out who are the people driving crime in Manhattan, and for
four years we focused on taking them out.”

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One evening shortly before Vance won his second term, I locked the only
bicycle I haven’t had stolen in New York to a No Parking sign in front of a restaurant
in the East Village and lugged the front wheel inside, where Vance was nursing a
club soda at the bar. “You're afraid of being robbed while having dinner with the
district attorney?” he said. “That’s an insult to me!”

Vance, now 60, is said to be funny in private, but as the white hat of moral order
in Manhattan, he makes no apologies for his public persona, which is earnest,
thoughtful, buttoned up and not unduly colorful. Not really colorful at all, in fact. He
has a halting speaking style and the subdued manner of a man constrained by
temperament, training and the peculiar fetters of his public duty.

“I would be more interesting to the newspapers if I showed up at crime scenes in
a yellow coat barking orders into a two-way wrist watch,” Vance told me. “But that’s

not me.”

Vance was born in New York, the youngest of five siblings. His mother, Grace
Sloane, who was called Gay, grew up dressing for black-tie dinners on the
Philadelphia Main Line in the socially prominent family that founded the W. & J.
Sloane furniture business. His father, Cyrus Roberts Vance, was born in West
Virginia, where the idyll of his childhood ended at 5 when his father died of
pneumonia. Vance’s parents were both public-minded. His mother served as
president of the New York Urban League. His father, after Yale, Yale Law School and
a stint in the Navy, shuttled from a partnership at the prestigious law firm Simpson
Thacher & Bartlett to various posts under three United States presidents and
emerged as an icon of the Eastern establishment — a lawyer-counselor-diplomat
who, after three years as secretary of state, resigned without fanfare in 1980 when
President Jimmy Carter, against Vance’s advice, authorized the ill-fated attempt to

rescue the American hostages in Tehran.

Cy Vance Jr. grew up among the elite of Washington after the family moved to
the capital from the Upper East Side in 1960. His father took him fishing at Camp
David. He spent the night at the White House and met President Lyndon B. Johnson
when he was 12. He followed his father to Yale, where he studied American history.
Determined not to become a lawyer, he peddled oil-marketing services in West

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Africa. He wasn’t very good at it, and after five years he reconciled himself to his
father’s profession, enrolling at the Georgetown University Law Center. He
graduated in 1982, shortly before his 28th birthday. Robert M. Morgenthau liked to
say he had one rule — “never do a politician a favor"— but he hired his share of
celebrity lawyers’ sons, and Vance landed a coveted assistant D.A. position. He was
assigned to Trial Bureau 80, where the halls were piled with cardboard boxes and
the blue carpet underfoot was so memorably gross that Vance was given a framed
swatch of it as a keepsake when it was finally replaced. “That time was the wild
west,” recalled Jeffrey Schlanger, Vance’s chief of staff, who got to be friends with
him when they worked together in the Rackets Bureau. “The crack epidemic was
going. Arraignments had a feeling of controlled chaos. I remember one mentally ill
defendant pulling feces out of his pants. Every day was a scramble. We were learning
things they didn’t teach in law school.”

Trials were what appealed to Vance — the strategies, the characters, the drama
of verdicts, the satisfaction of knowing his work mattered. He handled cases from
murder to art theft to animal cruelty and made friends with people you don’t
normally see at Yale reunions. He loved getting up in the middle of the night to
inspect crime scenes with detectives from the robbery squad. “We focused on pattern
robberies,” he recalled, “like the guys who specialized in shotgun stickups of Haagen-

Dazs stores.”

After six years, Vance was ready to get out from under the shadow of his father’s
fame. Against the advice of his dad, who said he was “waving the white flag” on his
career, he found a job as an associate at Culp Dwyer Guterson & Grader in Seattle,
where he moved with his wife, Peggy McDonnell, whom he’d married in 1984. He
proved adept at white-collar criminal defense work, eventually made partner and
then seven years later left to start his own firm. “He was the criminal lawyer in
Seattle,” recalled Robert Sulkin, a founding member of McNaul Ebel Nawrot Helgren
& Vance. “When you got into trouble, you called Cy Vance.”

Vance handled most of the firm’s criminal work, taking cases that political
opponents would later try to use against him, like his defense of Joseph Meling, an
insurance salesman convicted of killing two people in an attempt to cover his tracks
after trying to poison his wife with cyanide-laced Sudafed. Years at the defense table

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underlined for Vance some of the prosecutor’s powers. “The philosophy I have about
law enforcement — enhancing public safety while enhancing fairness — didn’t come
from my father, and it didn’t come from reading or professors in law school,” Vance
said. “It came from years of practical experience as a prosecutor and a defense
attorney.”

On trips back East, Vance would call on Morgenthau. In January 2002, his
father died after a long decline. Two years later, with their children, Simon and
Clare, on the brink of high school, and Vance’s mother and his sister Amy debilitated
by illness, Peggy thought it was time to come home. With the help of Morgenthau
and Eliot Spitzer, then the New York State attorney general, whom Vance met in the
Rackets Bureau, Vance landed a job in New York as a partner at a boutique white-
collar firm, Morvillo Abramowitz. He had been back in the city a year or so when he
confided to his wife that he was thinking of running for Manhattan district attorney
if Morgenthau retired. His political résumé at the time consisted of passing out fliers
for Lyndon Johnson and a couple of days of advance work for Gary Hart’s
unsuccessful presidential bid in 1984.

So numerous were the stumbles in Vance’s first term that for a while it
looked as if he might not have the luxury of a second. At one point the Data D.A. had
a far more formidable reputation on the Facebook pages of East Harlem gangs than
he did in the New York press. The New York Post labeled him, “Soft Cy,”
“Manhattan’s hapless district attorney” who learned to fight crime in the “espresso
bars of Seattle.”

“Cy’s first 18 months in office were so bruising that having no opposition for re-
election was something I never expected even a year ago,” says Linda Fairstein, a
former Manhattan sex-crimes prosecutor and Vance adviser. The nadir of his rookie
woes came in August 2011, when the sex-crimes prosecution of the French politician
Dominique Strauss-Kahn collapsed. It’s hard to imagine Vance will ever again find
himself in a maelstrom like the drama of Strauss-Kahn and the Sofitel housekeeper
Nafissatou Diallo: 19 New York Post cover stories; writhing news-media scrums
outside the Criminal Courts Building; armchair prosecutors dissecting how the green
D.A. and his mismanaged minions were in over their heads. Kenneth Thompson,
who at the time was the attorney for Diallo and now is the district attorney in

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Brooklyn, tore into Vance in front of TV cameras: “If the Manhattan district
attorney, who is elected to protect our mothers, our daughters, our sisters, our wives
and our loved ones, is not going to stand up for them when they’re raped or sexually
assaulted, who will?” (Many months later, when Thompson was preparing to run for
public office himself, Vance says Thompson privately apologized. Thompson says
that he did call to say he shouldn’t have said Vance was afraid to try the case, but
that that didn’t constitute an apology.)

I asked Vance what he would do differently if he could replay those tumultuous
weeks. “I probably would handle it exactly the same way,” he said after a long pause.

Nothing different?

“I would like to have had the time the federal government has between
arraignment and indictment. By law we have six days. Federal prosecutors have 30.
That forced everybody to make rapid decisions. But I think at every stage we made
the best decisions we could.”

Even Vance’s wife, Peggy, who had joined us for dinner, wondered if he wouldn’t
change his approach.

“I would probably move more slowly if I had to do it again,” he conceded. “But
what went right in DSK — although others might not see it this way — is that when
we assessed the information we had that undermined the case, we didn’t hide it. I
look at the DSK case as a paragon, because we absolutely believed this poor woman
should be believed over this powerful man, and when additional facts came out, we
were willing to show them to the defense.”

Vance critics have generally been focused on less sensational issues, questions of
policy and priorities for which they find the D.A.'s leadership wanting. Did the
Manhattan D.A., they ask, really need to set up a two-year study with the Vera
Institute of Justice to realize the criminal-justice system was plagued by racial bias?
And in light of its entrenched inequities, aren’t databases and targeted intelligence-
based prosecution especially problematic?

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“When prosecutors begin to compile databases and start doing so-called ‘smart
prosecutions,’ you have to ask who is getting in the databases, what are the criteria
and where are the outside checks?” says Steven Zeidman, director of the criminal-
defense clinic at the CUNY School of Law. “More than a thousand people are
arrested in N.Y.C. each day, and the overwhelming and disproportionate number of
them are people of color arrested for ‘broken windows’ type offenses like riding a
bike on the sidewalk or jaywalking. I was in court with a kid arrested for jaywalking;
the arresting officer was from the gang unit, and he stopped the kid because he was
wearing a red shirt that, according to the police, happened to be a gang color. He

wasn’t in a gang, but he’s probably now in a database.”

Vance has also been criticized for shrinking from leadership on the issue of
marijuana arrests in the city. In recent years, tens of thousands of New Yorkers — a
vast majority of them blacks and Hispanics — have been arrested for small amounts
of marijuana after being searched under the Police Department’s now-scaled-back
stop-and-frisk policy. Marijuana offenses were the top arrest category for the entire
program in 2012, according to a study by the New York chapter of the American Civil
Liberties Union. Vance has long supported reforming the penal code to treat small
amounts of pot “in public view” as a violation resulting in a fine rather than a
misdemeanor, which might lead to a jail sentence and a criminal record. But his
office has declined to prosecute just under 7 percent of the 54,000 misdemeanor pot
arrests in Manhattan since 2009, and it was Vance’s old antagonist, the Brooklyn
district attorney Kenneth Thompson, who declared his office would no longer

prosecute such cases.

Vance’s efforts to make prosecutors smarter — “to play offense instead of
defense,” as he has said — depend on what he calls “extreme collaboration” with the
Police Department, cooperation that has increased notably since the arrival in
January of William Bratton as police commissioner. Prosecutors say they now have
access to precinct-level commanders they almost never had before. The complicated
anti-gang cases mounted in Manhattan — like the one at the Manhattanville and
Grant housing projects last June, which resulted in 103 arrests — were built by
teams from the D.A.'s office working hand in glove with the investigators from the
police and the city’s Department of Correction. But critics argue that in doing so,
prosecutors risk becoming extensions of the police force.

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“Prosecutors are supposed to be the gatekeepers to the criminal-justice system,”
Zeidman told me. “They should maintain a healthy distance from the police so they
can evaluate the constitutionality and appropriateness of what the police are doing.
If they had been fulfilling that function all along, we might never have had scandals
like the rampant Fourth Amendment violations uncovered in the federal stop-and-
frisk litigation.”

It’s hard to know how much one person or policy can affect the crime rate,
and consequently how much credit or blame should be assigned when things go well
or don’t. Evaluations of anti-crime measures often conflate cause and correlation.
The sun comes up, the roosters preen. Raymond Kelly, the former New York City
police commissioner, once said that taking credit for a decline in crime is like taking
credit for an eclipse, but he, too, was quick to attribute auspicious trends to his
department’s strategies and tactics. The N.Y.P.D.'s seminal crime-mapping
methodology CompStat surely made cops more effective and helped reduce crime,
and yet crime began its epic decline in 1990, four years before CompStat was
implemented. For years Kelly and former Mayor Michael Bloomberg insisted the
city’s stop-and-frisk program was the key — but then, as opponents asked, why did
crime continue to go down even when stop-and-frisk was curtailed by public

pressure in 2012?

Apart from effective police work, studies have attributed the decline in violent
crime to a confounding hash of variables: demographic trends, fashions in drug
abuse, a surge in public-housing programs, the proliferation of surveillance cameras,
decreases in lead toxicity, increased incarceration rates (and paradoxically in recent
years, increased prison discharge rates), even the availability of abortion.
Morgenthau credits the pivotal role of the district attorney, noting Manhattan had
39 percent of the city’s homicides when he took office and only 12 percent in the year
before he finished — evidence to him of the difference a D.A. makes given that the
city’s boroughs all have the same police force. In his final report, he tartly observed
that the 90 percent decline in murders in Manhattan during his tenure was “not due
simply to the dawn of gentler times.”

But of course gentler times were something to hope for and to cultivate if
possible. Vance pressed the point to his staff: Their pole star wasn’t convictions but

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safety, a goal as readily attained by preventing crime as by prosecuting it. With asset-
forfeiture money seized from drug dealers, Vance has opened 10 Manhattan gyms
that would otherwise be closed on weekends and started sports programs for 11-to-
18-year-olds called Saturday Night Lights. The community-affairs unit hired
professional sports trainers to run drills and academic advocates to work as tutors
and mentors and to keep track of how the players are faring in school. “We ask
ourselves, Are we doing everything possible to reduce crime?” Chauncey Parker says.
“Tf an overwhelming number of Rikers Island inmates don’t have high-school
diplomas, maybe we should be finding ways to help people stay in school and
graduate. It seems obvious, but it’s not until someone starts doing it.”

Parker challenged C.S.U. prosecutors to come up with their equivalent of the
Apollo moon project. Their answer was reforming public housing in the city,
including the Polo Grounds, St. Nicholas and Wagner developments, and they are
drawing up plans with the expectation that they can drive down crime.

A number of other cities and states are studying how the Manhattan D.A. has
developed and deployed data. At a February 2013 conference in Miami, Kerry Chicon
and David O’Keefe, then the C.S.U. chief, received numerous requests for meetings
after their presentation on the Arrest Alert System. Philadelphia now has a
rudimentary intelligence system modeled on Manhattan’s C.S.U. So does the
Delaware Department of Justice. “The Manhattan C.S.U. prosecutors spent a day
with us, going over intelligence-driven models and how they analyzed cases,” says
Kathleen M. Jennings, the state prosecutor and head of the criminal division. “We
developed an arrest-alert system that identified 50 high-risk offenders. In May we
created our crime-strategies unit. Wilmington has one of the highest violent-crime
rates in the country, but 1 to 2 percent of the people are doing 70 percent of the
crimes. We’ve taken dozens of high-risk offenders off the street.”

When he took office in 2011, District Attorney George Gascon of San Francisco
was shocked by the paucity of data-informing prosecutions. “It wasn’t even a bell
that was being rung,” says his chief of staff, Cristine Soto DeBerry. “We spent a day
in Manhattan learning the ropes of how they used data, and Kerry Chicon came and
spoke to our board of supervisors. It’s very clear to our D.A. that we are
overincarcerating, and we need to do something different. Jail is not an economically

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sustainable model. We need to know for whom jail is appropriate and whom it isn't.
That’s where data becomes very useful.”

In some ways it may be easier to be the district attorney of Manhattan in an era
when New Yorkers aren’t so inclined to do terrible things to one another. And yet the
Manhattan D.A.'s office still handles more cases than the entire United States
Department of Justice. Vance’s predecessors didn’t have to cope with the terabytes of
digital evidence now central to many prosecutions, or with malign enterprises
particular to our time, like cybercrime (200 to 300 complaints a month in
Manhattan alone) and lone-wolf terrorism.

Vance was especially frustrated that his office had been unable to stem the
upsurge in domestic violence. While the index felonies were going down,
misdemeanor arrests in Manhattan were going up. And arrests for grand larceny,
many of which involved iPads and iPhones, were running counter to the positive

crime trends.

“I don’t want to be known as the D.A. whose main mission was reducing
property crime, but it is important we excel even in these kind of cases,” Vance said.
“The bar Bob Morgenthau set when he left was very high. It’s my job to raise it.”

It was almost midnight, and he was sitting in a pub in Chelsea reflecting on his
first four years on the job. The supporters who helped him secure another term had
gone home. “So,” asked his wife, Peggy, “what three things have you learned about
yourself?” Vance gazed at her evenly, well aware of the perils of domestic cross-
examination. “You just have to be honest,” she said.

“I’m thinking,” he said, looking, for a moment, as if he would rather be coping
with the recent outbreak of mold at their country house.

“Cyrus has always been a question to himself,” Peggy said to me. “The things
that should make him happy didn’t make him happy. He’s never had the ability to
separate himself from his work.”

Jimmy Zaccari, a detective on Vance’s protection detail, was waiting outside in a
black Suburban to drive the couple home. It was a quiet night, except for the cry of

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far-off sirens. Changed as it might be, Manhattan was still the place where Jose
Pimentel plotted to terrorize New Yorkers by detonating pipe bombs, and Corey
Dunton stands accused of firing a gun at skaters in Bryant Park, and Cesar Lucas
raped a woman on the West Side. It was still the place where, among thousands of
nonviolent but still disgraceful affronts to the civility of city life, Dr. Lawrence
Levitan stole insurance money from a hospital and Naim Jabbar wrung cash from
people for eyeglasses they didn’t break. It was still the place where even a Times
Square Elmo impersonator had been jailed for harassment and extortion. Gentler
times in Manhattan? Maybe someday — but not tonight. Sirens in the night meant
cases in the morning.

Correction: December 7, 2014
An article on Page 22 this weekend about Cyrus Vance Jr., the district
attorney of New York County, describes incompletely a shooting incident
at the Bryant Park ice rink in November 2013 and misspells the given
name of a man charged with shooting skaters. He is Corey Dunton, not
Cory, and he has pleaded not guilty and is awaiting trial; it has not been
established that he “fired a gun at skaters.” In addition, the article
misstates the length of time that Robert M. Morgenthau served as district
attorney of New York County. It was 35 years, not 34.
Chip Brown is a contributing writer for the magazine. His last article was on Peter Gelb,
general manager of the Metropolitan Opera.

A version of this article appears in print on December 7, 2014, on page MM22 of the Sunday Magazine
with the headline: The Data D.A.

 

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Constitution

New York does not have a victims' rights amendment to its constitution.

McKinney’s Executive Law; Article 23, Fair Treatment Standards for Crime Victims

§ 640 — Fair Treatment Standards for Crime Victims

1. The commissioner of the division of criminal justice services, in consultation with the
director of the office of victim services and other appropriate officials, shall promulgate
standards for the treatment of the innocent victims of crime by the agencies which
comprise the criminal justice system of the state.

2. For the purposes of this article the term “criminal justice” shall include juvenile justice and
the objectives and criteria set forth in sections six hundred forty-one and six hundred forty-
two of this article shall apply to presentment agencies as defined in subdivision twelve of
section 301.2 of the family court act.

§ 641 — Objectives of Fair Treatment Standards
The object of such fair treatment standards shall be to:

1. Ensure that crime victims routinely receive emergency social and medical services as soon
as possible and are given information pursuant to section six hundred twenty-five-a of this

chapter on the following:
(a) availability of crime victim compensation;

J (b) availability of appropriate public or private programs that provide counseling,
treatment or support for crime victims, including but not limited to the following: rape
crisis centers, victim/witness assistance programs, elderly victim services, victim
assistance hotlines and domestic violence shelters;

(c) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them; and

(d) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained.

 

* Not intended to be exhaustive.
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2. Ensure routine notification of a victim or witness as to steps that law enforcement officers
or district attorneys can take to protect victims and witnesses from intimidation.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate official
with a current address and telephone number, either by phone or by mail, if possible, of
judicial proceedings relating to their case, including:

(a) the arrest of an accused;
(b) the initial appearance of an accused before a judicial officer;
(c) the release of an accused pending judicial proceedings; and

(d) proceedings in the prosecution of the accused including entry of a plea of guilty, trial,
sentencing, but prior to sentencing specific information shall be provided regarding the
right to seek restitution and reparation, and where a term of imprisonment is imposed,
specific information shall be provided regarding maximum and minimum terms of such
imprisonment.

§ 642 — Criteria for Fair Treatment Standards
Such fair treatment standards shall provide that:

1. The victim of a violent felony offense, a felony involving physical injury to the victim, a
felony involving property loss or damage in excess of two hundred fifty dollars, a felony
involving attempted or threatened physical injury or property loss or damage in excess of
two hundred fifty dollars or a felony involving larceny against the person shall, unless he
or she refuses or is unable to cooperate or his or her whereabouts are unknown, be
consulted by the district attorney in order to obtain the views of the victim regarding
disposition of the criminal case by dismissal, plea of guilty or trial. In such a case in which
the victim is a minor child, or in the case of a homicide, the district attorney shall, unless
the family refuses or is unable to cooperate or his, her or their whereabouts are unknown,
consult for such purpose with the family of the victim. In addition, the district attorney
shall, unless he or she (or, in the case in which the victim is a minor child or a victim of
homicide, his or her family) refuses or is unable to cooperate or his, her or their
whereabouts are unknown, consult and obtain the views of the victim or family of the
victim, as appropriate, concerning the release of the defendant in the victim's case pending
judicial proceedings upon an indictment, and concerning the availability of sentencing
alternatives such as community supervision and restitution from the defendant. The failure
of the district attorney to so obtain the views of the victim or family of the victim shall not
be cause for delaying the proceedings against the defendant nor shall it affect the validity
of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

2-a. (a) All police departments, as that term is defined in subdivision a of section eight
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hundred thirty-seven-c of this chapter, district attorneys’ offices and presentment
agencies, as that term is defined in subdivision twelve of section 301.2 of the family
court act, shall provide a private setting for interviewing victims of a crime defined in
article one hundred thirty or section 255.25, 255.26, or 255.27 of the penal law. For
purposes of this subdivision, "private setting" shall mean an enclosed room from
which the occupants are not visible or otherwise identifiable, and whose conversations
cannot be heard, from outside such room. Only (i) those persons directly and
immediately related to the interviewing of a particular victim, (ii) the victim, (iii) a
social worker, rape crisis counselor, psychologist or other professional providing
emotional support to the victim, unless the victim objects to the presence of such
person and requests the exclusion of such person from the interview, and (iv) where
appropriate, the parent or parents of the victim, if requested by the victim, shall be
present during the interview of the victim.

(b) All police departments, as that term is defined in subdivision a of section eight hundred
thirty-seven-c of this chapter, shall provide victims of a crime defined in article one
hundred thirty of the penal law with the name, address, and telephone of the nearest
rape crisis center in writing.

Law enforcement agencies and district attorneys shall promptly return property-held for
evidentiary purposes unless there is a compelling reason for retaining it relating to proof at
trial. ———
alae
The victim or witness who so requests shall be assisted by law enforcement agencies and
district attorneys in informing employers that the need for victim and witness cooperation
in the prosecution of the case may necessitate absence of that victim or witness from work.
In addition, a victim or witness who, as a direct result of a crime or of cooperation with
law enforcement agencies or the district attorney in the investigation or prosecution ofa
crime is unable to meet obligations to a creditor, creditors or others should be assisted by
such agencies or the district attorney in providing to such creditor, creditors or others
accurate information about the circumstances of the crime, including the nature of any loss
or injury suffered by the victim, or about the victim's or witness’ cooperation, where
appropriate.

Victim assistance education and training, with special consideration to be given to victims
of domestic violence, sex offense victims, elderly victims, child victims, and the families
of homicide victims, shall be given to persons taking courses at state law enforcement
training facilities and by district attorneys so that victims may be promptly, properly and
completely assisted.

§ 642a — Fair Treatment of Child Victims as Witnesses

To the extent permitted by law, criminal justice agencies, crime victim-related agencies, social
services agencies and the courts shall comply with the following guidelines in their treatment of
child victims:

1.

To minimize the number of times a child victim is called upon to recite the events of the
case and to foster a feeling of trust and confidence in the child victim, whenever
practicable and where one exists, a multi-disciplinary team as established pursuant to
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subdivision six of section four hundred twenty-three of the social services law and/or a
child advocacy center shall be used for the investigation and prosecution of child abuse
cases involving abuse of a child, as described in paragraph (i), (ii) or (iii) of subdivision (e)
of section one thousand twelve of the family court act, sexual abuse of a child or the death
of a child.

. Whenever practicable, the same prosecutor should handle all aspects of a case involving an

alleged child victim.

. To minimize the time during which a child victim must endure the stress of his

involvement in the proceedings, the court should take appropriate action to ensure a speedy
trial in all proceedings involving an alleged child victim. In ruling on any motion or
request for a delay or continuance of a proceeding involving an alleged child victim, the
court should consider and give weight to any potential adverse impact the delay or
continuance may have on the well-being of the child.

The judge presiding should be sensitive to the psychological and emotional stress a child
witness may undergo when testifying.

. In accordance with the provisions of article sixty-five of the criminal procedure law, when

appropriate, a child witness as defined in subdivision one of section 65.00 of such law
should be permitted to testify via live, two-way closed-circuit television.

In accordance with the provisions of section 190.32 of the criminal procedure law, a person
supportive of the "child witness" or "special witness" as defined in such section should be
permitted to be present and accessible to a child witness at all times during his testimony,
although the person supportive of the child witness should not be permitted to influence
the child's testimony.

. A child witness should be permitted in the discretion of the court to use anatomically

correct dolls and drawings during his testimony.

§ 643 — Fair Treatment Standards for Crime Victims; Agencies Generally

1.

As used in this section, "crime victim-related agency" means any agency of state
government which provides services to or deals directly with crime victims, including
(a) the office of children and family services, the office for the aging, the division of
veterans affairs, and correctional alternatives the division of parole, office of victim
services the department of motor vehicles, the office of vocational rehabilitation, the
workers' compensation board, the department of health, the division of criminal justice
services, the office of mental health, every transportation authority and the division of
state police, and (b) any other agency so designated by the governor within ninety days
of the effective date of this section.

. Each crime victim-related agency shall review its practices, procedures, services,

regulations and laws to determine the adequacy and appropriateness of its services with
respect to crime victims, including victims with special needs, particularly the elderly,
disabled or victims of child abuse, domestic violence or sex-related offenses. Such review
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shall include reasonable opportunity for public comment and consultation with crime
victims or their representatives, and may include public hearings.

3. After the review, and not later than one hundred eighty days after the effective date of this
section, each crime victim-related agency shall submit a report to the governor and the
legislature, setting forth the findings of the review including a description of the
services provided by the agency and recommendations for changes in its practices,
procedures, services, regulations and laws to improve its services to crime victims and
to establish and implement fair treatment standards for crime victims.

4. Subject to the direction of the governor, and to the extent practicable, each crime
victim-related agency shall expeditiously implement the recommendations of its report.

§ 644 — Implementation

The commissioner of the division of criminal justice services and the director of the office of
victim services shall assist criminal justice agencies in implementing the guidelines promulgated
by the commissioner.

§ 645 — Fair Treatment Standards for Crime Victims in the Courts

The chief administrator of the courts, in consultation with the commissioner of the division of
criminal justice services, the director of the office of victim services and other appropriate
officials, shall promulgate standards for the treatment of the innocent victims of crime by the
unified court system. These standards shall conform to and be consistent with the regulations
promulgated pursuant to section six hundred forty of this article.

§ 646 — Police Reports

1. A victim of crime shall be entitled, regardless of physical injury, without charge to a copy
of a police report of the crime.

2. An individual whose identity was assumed or whose personal identifying information, as
defined in section 190.77 of the penal law, was used in violation of section 190.78, 190.79
or 190.80 of the penal law, or any person who has suffered a financial loss as a direct result
of the acts of a defendant in violation of section 190.78, 190.79, 190.80, 190.82 or 190.83
of the penal law, who has learned or reasonably suspects that his or her personal
identifying information has been unlawfully used by another, may make a complaint to the
local law enforcement agency of the county in which any part of the offense took place
regardless of whether the defendant was actually present in such county, or in the county in
which the person who suffered financial loss resided at the time of the commission of the
offense, or in the county where the person whose personal identification information was
used in the commission of the offense resided at the time of the commission of the offense
as provided in paragraph (1) of subdivision four of section 20.40 of the criminal procedure
law. Said local law enforcement agency shall take a police report of the matter and provide
the complainant with a copy of such report free of charge.
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§ 646 — Objectives
The object of these fair treatment standards shall be to:
1. Ensure that crime victims are given information on the following:

(a) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them;

(b) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained; and

(c) how the court can address the needs of the victims at sentencing.

2. Ensure routine notification of a victim or witness as to steps that the court can take to
protect victims and witnesses from intimidation, including the issuance of orders of
protection and temporary orders of protection.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate court
official with a current address and telephone number, either by phone or by mail, if
possible, of judicial proceedings relating to their case, including:

(a) the initial appearance of an accused before a judicial officer;

(b) the release of an accused pending judicial proceedings;

(c) proceedings in the prosecution of the accused, including entry of a plea of guilty, trial,
sentencing, and where a term of imprisonment is imposed, specific information shall be
provided regarding maximum and minimum terms of such imprisonment; and

(d) the reversal or modification of the judgment by an appellate court.

§ 646-a — Information Relative to the Fair Treatment Standards; Pamphlet
Pp
|. The district attorney shall provide the victim, at the earliest time possible, with an
informational pamphlet detailing the rights of crime victims which shall be prepared by the
division of criminal justice services in consultation with the director of the office of victim

services and distributed to each district attorney's office.

2. The pamphlet shall summarize provisions of this article. It shall also include specific
information with appropriate statutory references on the following:

(a) the rights of crime victims to compensation and services;

(b) the rights of crime victims to routine notification of judicial proceedings relating to
their case as provided in section six hundred forty-one of this article, in section 330.20,
and section 440.50 of the criminal procedure law and section one hundred forty-nine-a
of the correction law;
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(c) the rights of crime victims to be protected from intimidation and to have the court,
where appropriate, issue protective orders as provided in sections 530.12 and 530.13 of
the criminal procedure law and sections 215.15, 215.16 and 215.17 of the penal law;

(d) the rights of crime victims to submit, where appropriate, a victim impact statement for
the pre-sentencing report and the parole hearing as provided in section 390.30 of the
criminal procedure law and section two hundred fifty-nine-i of this chapter;

(e) the rights of crime victims, where a defendant is being sentenced for a felony, to
request the right to make a statement at the time of sentencing as provided in section
380.50 of the criminal procedure law; and

(f) the rights of crime victims to request restitution and have the district attorney present
such request to the court and assist the crime victim in the filing and collection of a
restitution order in cooperation with the designated agency of the court as provided in
section 420.10 of the criminal procedure law and section 60.27 of the penal law.

(g) the rights of crime victims to be aware of the defendant's incarceration status by
providing the division of parole's contact information, including the division's toll-free
telephone number, as provided for in subdivision two of section two hundred fifty-
nine-i of this chapter. Such notice shall advise the crime victim to use the division's
toll-free telephone number to update contact information.

. This pamphlet shall provide space for the insertion of the following information:
(a) the address and phone number of the office of victim services;
(b) the address and phone numbers of local victim service programs, where appropriate;

(c) the name, phone number and office location of the person in the district attorney's
office to whom inquiries concerning the victims case may be directed; and

(d) any other information the division deems appropriate.

. (a) The commissioner of the division of criminal justice services in consultation with the
director of the office of victim services shall develop and prepare a standardized form for
the use of district attorney offices for the purpose of reporting compliance with this
section. The form is to be distributed to each district attorney. Every district attorney's
office in the state shall complete the reporting form annually and send it to the director of
the office of victim services by the first day of January each year subsequent to the
effective date of this subdivision.

(b) A copy of the report shall be retained by the district attorney and upon request, a victim
of a crime or relative of a victim shall be entitled to receive from the district attorney a
copy of their district attorney's annual report without charge. Any other person
requesting a copy of the report shall pay a fee not to exceed the actual cost of
reproduction.
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§ 647 — Criteria
Fair treatment standards for crime victims in the courts shall provide that:

1. The court shall consider the views of the victim of a violent felony offense, a felony
involving physical injury to the victim, a felony involving property loss or damage in
excess of two hundred fifty dollars, a felony involving attempted or threatened physical
injury or property loss or damage in excess of two hundred fifty dollars or a felony
involving larceny against the person, or of the family of a homicide victim or minor child,
regarding discretionary decisions relating to the criminal case, including, but not limited to,
plea agreements and sentence. In addition, the court shall consider the views of the victim
or family of the victim, as appropriate, concerning the release of the defendant in the
victim's case pending judicial proceedings upon an indictment, and concerning the
availability of sentencing alternatives such as community supervision and restitution from
the defendant. The failure of the court to consider the views of the victim or family of the
victim shall not be cause for delaying the proceedings against the defendant nor shall it
affect the validity of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

3. The court shall assist in and expedite the return of property held for evidentiary purposes
unless there is a compelling reason for retaining it relating to proof at trial.

4. Victim assistance education shall be given to judicial and nonjudicial personnel of the
unified court system so that victims may be promptly, properly and completely assisted.

§ 648 — Review; Report and Implementation

|. The chief administrator of the unified court system shal! review court practices,
procedures, services, regulations and laws to determine the adequacy and appropriateness
of its services with respect to crime victims, including victims with special needs,
particularly the elderly, disabled or victims of child abuse, domestic violence or sex-related
offenses. Such review shall include reasonable opportunity for public comment and
consultation with crime victims or their representatives, and may include public hearings.

2. After the review, and not later than two hundred seventy days after the effective date of
this section, the chief administrator of the unified court system shall submit a report to the
governor and the legislature, setting forth the findings of the review, including a
description of the services provided by the components of the unified court system and
recommendations for changes in its procedures, services, regulations and laws to improve
its services to crime victims and to establish and implement fair treatment standards for
crime victims.

3. Subject to the direction of the chief administrator, the components of the unified court
system shall expeditiously implement the recommendations of its report.

§ 649 — Miscellaneous
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Nothing in this article shall be construed as creating a cause of action for damages or injunctive
relief against the state or any of its political subdivisions or officers or any agency thereof.

ot?
G) McKinney's Social Services Law § 483-aa
§ 483-aa. Definitions
The following definitions shall apply to this article:

(a) “Human trafficking victim” means a person who is a victim of sex trafficking as
defined in section 230.34 of the penal law or a victim of labor trafficking as defined in
section 135.35 of the penal law.

(b) “Pre-certified victim of human trafficking” is a person who has a pending application
for federal certification as a victim of a severe form of trafficking in persons as defined
in section 7105 of title 22 of the United States Code (Trafficking Victims Protection)
but has not yet obtained such certification, or a person who has reported a crime to law
enforcement and it reasonably appears to law enforcement that the person is such a
victim.

Os 483-bb. Services for victims of human trafficking

(a) The office of temporary and disability assistance may coordinate with and assist law
enforcement agencies and district attorney's offices to access appropriate services for
human trafficking victims.

(b) In providing such assistance, the office of temporary and disability assistance may
enter into contracts with non-government organizations for providing services to pre-
certified victims of human trafficking as defined in subdivision (b) of section four
hundred eighty-three-aa of this article, insofar as funds are available for that purpose.
Such services may include, but are not limited to, case management, emergency
temporary housing, health care, mental health counseling, drug addiction screening and
treatment, language interpretation and translation services, English language
instruction, job training and placement assistance, post-employment services for job
retention, and services to assist the individual and any of his or her family members to
establish a permanent residence in New York state or the United States. Nothing in this
section shall preclude the office of temporary and disability assistance, or any local
social services district, from providing human trafficking victims who are United
States citizens or human trafficking victims who meet the criteria pursuant to section
one hundred twenty-two of this chapter with any benefits or services for which they
otherwise may be eligible.

§ 483-cc. Confirmation as a victim of human trafficking
(a) As soon as practicable after a first encounter with a person who reasonably appears to a

law enforcement agency or a district attorney's office to be a human trafficking victim,
that agency or office shall notify the office of temporary and disability assistance and
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the division of criminal justice services that such person may be eligible for services
under this article.

(b) Upon receipt of such a notification, the division of criminal justice services, in
consultation with the office of temporary and disability assistance and the referring
agency or office, shall make a preliminary assessment of whether such victim or
possible victim appears to meet the criteria for certification as a victim of a severe form
of trafficking in persons as defined in section 7105 of title 22 of the United States Code
(Trafficking Victims Protection) or appears to be otherwise eligible for any federal,
state or local benefits and services. If it is determined that the victim appears to meet
such criteria, the office of temporary and disability assistance shall report the finding to
the victim, and to the referring law enforcement agency or district attorney's office, and
may assist that agency or office in having such victim receive services from a case
management provider who may be under contract with the office of temporary and
disability assistance, or from any other available source. If the victim or possible victim
is under the age of eighteen, the office of temporary and disability assistance also shall
notify the local department of social services in the county where the child was found.

Statutes
McKinney's Executive Law Ch. EIGHTEEN, Art. 23, Refs & Annos

CROSS REFERENCES

Action against offender's estate; victim as creditor, see Civil Rights Law § 79-d.
Action by victim of criminal offense, time limits, see CPLR 213-b.
Compensation for crime victims, see Executive Law § 620 et seq.

Deaf victim, appointment of interpreter, see Judiciary Law § 390.

Dispositions of offenders, restitution and reparation, see Penal Law § 60.27.

Dispute resolution, notice and opportunity for victim to be heard prior to referral, see CPL
215.10; CPL 215.20.

Employer unlawfully penalizing victim witness, misdemeanor, see Penal Law § 215.14.
Forfeiture of proceeds of crime, see CPLR 1310 et seq.

Intimidation of victim, felony, see Penal Law § 215.15 et seq.

Judicial administration, chief administrator, see Judiciary Law § 212.

Mentally incapacitated defendant, notice to potential victim of release, see CPL 730.60.
Notice to crime victim of case disposition, see CPL 440.50.

Orders of protection for crime victims while action pending, see CPL 530.12; CPL 530.13.
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Parole board, consideration of crime victim's statement, see Executive Law § 259-i.
Proceeds of crime, recovery by victim, see Executive Law § 632-a.
Released inmates; notification to victims and family members, see Correction Law § 149-a.

Restitution and reparation to crime victim, see Penal Law § 60.27.
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PURPOSE

PROCEDURE

UNIFORMED
MEMBER OF
THE SERVICE

NOTE

PATROL GUIDE Txivlol tf SO

 

Section: Arrests Procedure No: 208-70

 

PROCESSING OF NEW YORK STATE DOMESTIC INCIDENT
REPORTS IN THE DOMESTIC VIOLENCE DATABASE

 

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To improve the tracking, monitoring, and analysis of domestic violence cases.

Whenever entering information from a command’s past/current New York State
Domestic Incident Report (DCJS-3221) into the new Domestic Violence
Database System:

1, Submit hard copy of Domestic Incident Report and any related
paperwork [COMPLAINT REPORT (PD313-152), AIDED REPORT
WORKSHEET (PD304-152b), ON LINE BOOKING SYSTEM
ARREST WORKSHEET (PD244-159) etc.] to desk officer.

The current New York State Domestic Incident Report (DCJS-3221) does not have
captions for certain pertinent information that is collected in the Domestic Violence
Database System. Therefore, the following information is to be elicited from the person(s)
involved and recorded in the NARRATIVE OF THE INCIDENT:

a. Alcohol involved

b. Narcotic involved

c. Verbal dispute only

d. Court and Docket number of Order of Protection

é. Voucher number of photos (if taken)

f Social security number and alias of persons involved (record next to
name if space allows, otherwise include name and information in
narrative)

g. Reporting officer’s tax number in box titled “OFFICER LD. NO. ”

DESK OFFICER 2. Review hard copy of Domestic Incident Report and any related

COMMAND
CLERK

NOTE

paperwork for accuracy and completeness and sign.
Be Direct command clerk to enter information from the Domestic Incident
Report into the Domestic Violence Database System.

4. Enter information from the Domestic Incident Report into the Domestic
Violence Database System and print out computer copy.

Members of the service entering Domestic Incident Reports into the Domestic Violence
Database System should not attempt to translate victims’ statements that are written in
languages other than English, regardless of whether or not the member is proficient in
the other language. However, members should indicate in the “Victims Statement of
Allegations/Supporting Deposition” field that the statement is written in a language
other than English (i.e., “Victim's statement is completed in apparent Spanish”).

5. Attach hard copy and computer copy and present them to the desk officer
for review.

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NOTE With the implementation of new, linked computer systems, the command clerk must enter

DESK OFFICER

DOMESTIC
VIOLENCE
OFFICER/
DESIGNATED
REVIEWER

NOTE

DESK
OFFICER/
DOMESTIC
VIOLENCE
SUPERVISOR

all associated reports and obtain numbers from the other appropriate computer systems
(OLCS, Aided, etc.) PRIOR TO entering the data into the Domestic Violence Database
System. The command clerk will record all appropriate numbers on the hard copy of the
Domestic Incident Report. It is imperative that these numbers are obtained prior to the
entry of the Domestic Incident Report since these numbers link to the other systems and
links information contained therein and CAN NOT be entered or retrieved later. In the
event that a Domestic Incident Report is entered into the database without these
numbers, it MUST BE VOIDED and re-entered with this information.

 

The command clerk will prepare a Domestic Incident Report for walk-in complainants
reporting domestic incidents whenever the command’s domestic violence officer is not
available to do so.

6. Review computer copy and compare to the hard copy for accuracy and
completeness.

a. Forward both copies to the command’s domestic violence
officer/designated reviewer.

8. Obtain previously assigned victim and/or offender numbers or generate
new numbers, as appropriate, from database.

9. Query the Domestic Violence Database System for the following offender
information:

Warrant history

Investigation card status

Gun license/permit status

Criminal recidivist history

Targeted narcotics violator status

Domestic violence history

Results of the New York State Police Information Network (NYSPIN) inquiries
concerning orders of protection, probation status and arrest history (Booking
Arraignment Disposition System [BADS]), and complaint history (On Line Complaint
System [OLCS]), will be entered onto the appropriate captions of the Domestic Incident
Report review screen.

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10. Ensure that all computer inquiries regarding the offender are completed
during the tour in which they are commenced.
a. Attach printouts of all inquiries listed in step 9 to the Domestic
Incident Report.
11. Forward both copies of the Domestic Incident Report back to the desk
officer or domestic violence supervisor for endorsement

12. | Review the Domestic Incident Report computer summary screen.

a. Ensure that all Domestic Incident Reports and the necessary
offender queries are completed.

13. Utilize the supervisory sign off function to finalize each Domestic
Incident Report thereby entering it into the Domestic Violence Database
System.

a. Print finalized copy of Domestic Incident Report.

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NOTE Any Domestic Incident Report prepared by a command other than PRECINCT OF

DESK
OFFICER/
DOMESTIC
VIOLENCE
SUPERVISOR
(continued)

DOMESTIC
VIOLENCE
PREVENTION
OFFICER

PRECINCT
DETECTIVE
SQUAD
MEMBER

ARREST
PROCESSING
OFFICER

COMMAND
INTEGRITY
CONTROL
OFFICER

OCCURRENCE, must be entered, reviewed and finalized by the COMMAND OF
REPORT. The hard copy of the Domestic Incident Report will then be faxed to the
precinct of occurrence. The original will be maintained in a file folder marked, “Out of
Command DIRs”. (This folder is not required if prepared by a PSA, and the incident
occurs within the precincts that they cover).

14.

15.

16.

17.

18.

19.

20.

21.

22.
23.

Void any duplicate Domestic Incident Reports and those entered
incorrectly or in error.

Prepare daily a Domestic Incident Index utilizing the computer’s “Domestic

Violence Query-Status Report” for all the Domestic Incident Reports

entered the previous day.

a. Maintain a copy of the Index in the Domestic Violence office and at
the desk.

Utilize the computer’s add/view “follow-up comments function” to enter

new information (e.g. results of home visits, phone contacts, additional

information, etc.) related to the Domestic Incident Report.

Utilize the computer’s “High Propensity Offender” function to add and

remove offenders to the commands High Propensity List.

Enter case closing status of any resolved domestic violence case into the
Domestic Violence Database System.

Complete a “Global Name Check” of the offender and victim in all

domestic violence arrest cases.

a. Print out the result screen and the previously prepared Domestic
Incident Report(s).

Forward the name check results and Domestic Incident Report(s) with

the arrest package to the District Attorney’s Office.

Provide members of the service access to the Domestic Violence
Database System utilizing the administrator options of the computer as
appropriate.

Maintain a list of authorized users assigned to the command.

Print, review, and maintain on a monthly basis, a list of all voided
Domestic Incident Reports entered into the Database.

a. Take corrective action where appropriate.

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ADDITIONAL
DATA

RELATED
PROCEDURES

FORMS AND
REPORTS

Members of the service are reminded that the hard copy of the DIR, which should
include a statement written in the complainant/victim’s own handwriting, is the primary
source for information regarding domestic incidents. The handwritten victim's statement
is crucial to the District Attorney during the prosecution of a domestic violence case and
can serve as the accusatory instrument, when necessary. When a domestic violence
officer, precinct detective squad member, or other interested member of the service is
investigating a domestic incident and the Domestic Violence Database indicates that the
victim’s statement is written in a language other than English, he or she should refer to
the hard copy of the DIR to obtain the victim’s handwritten statement. If the need for a
translator arises, members of the service should comply with P.G. 212-90, “Guidelines
jor Interaction with Limited English Proficient (LEP) Persons”.

Domestic Incident Reports that are prepared by officers assigned to commands other
than precinct of occurrence (i.e. Housing Bureau personnel, etc.) who have access to the
Domestic Violence Database System, will be responsible for the data entry, review and
finalization of the Domestic Incident Report. The follow-up investigation will be the
responsibility of the precinct of occurrence or housing PSA, as appropriate.

Due to the sensitive nature of the Database information, access is limited to authorized
users and is controlled using CESN passwords. The command's integrity control officer
provides access to the system; however, revoked passwords must be re-activated by the
integrity control officer assigned to the Management Information Systems Division.

Commands will access the Domestic Violence Database System from local area network
(LAN) workstations that have Internet Explorer Browser installed. Once the system
issues a sequential number and the Domestic Incident Report is reviewed by the
domestic violence officer, only a supervisor from the precinct of occurrence is permitted
to make modifications. Additionally, once a desk officer/domestic violence supervisor
has finalized a Domestic Incident Report for entry into the Domestic Violence Database
System, no modifications will be allowed. (This does not include domestic violence
officer notes or detective case closing).

Domestic Violence Prevention Officer (P.G. 202-29)

Family Offenses/Domestic Violence (P.G. 208-36)

Family Offenses and Domestic Violence Involving Uniformed or Civilian Members Of
The Service (P.G 208-37)

Family Offense/Domestic Violence (Photographing Visible Injuries/Damaged Property)
(P.G. 208-39)

AIDED REPORT WORKSHEET (PD304-152b)

COMPLAINT REPORT (PD313-152)

ON LINE BOOKING SYSTEM ARREST WORKSHEET (PD244-159)
New York State Domestic Incident Report (DCJS-3221)

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PURPOSE

SCOPE

PROCEDURE

UNIFORMED
MEMBER OF
THE SERVICE

NOTE

PATROL
SUPERVISOR

NOTE

PATROL GUIDE

 

Section: Arrests

Procedure No: 208-39

 

FAMILY OFFENSES/DOMESTIC VIOLENCE (DIGITAL
PHOTOGRAPHY OF VISIBLE INJURIES/DAMAGED PROPERTY)

 

DATE ISSUED:

 

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To capture, catalog, store and maintain digital photographic evidence of visible
injuries and/or damaged property as a result of domestic violence.

All precinct and police service area commands citywide are now able to digitally capture
domestic violence photos and transmit them as a permanent record into the Domestic
Violence Digital Photo Database. These images may then be instantly viewed by
prosecutors at each borough’s District Attorney’s Office and the New York Law
Department (Corporation Counsel) who will have access to the Domestic Violence Digital
Photo Database. Prosecutors may then present digital images of domestic violence to
judges at the time of arraignment, thereby strengthening the District Attorney’s case. In
addition, uniformed members acting in investigatory and support roles (Detective Bureau
personnel, domestic violence prevention officers, etc.) will be able to view these photos
prior to making further contact with the victim and/or offender.

Upon responding to the scene of a reported domestic violence incident:

1. Comply with P.G. 208-36, “Family Offenses/Domestic Violence.”
. Determine if photographs must be taken.
a Ascertain if the victim is willing to be photographed.

a. Advise the victim that photographable evidence is crucial to future
prosecutorial efforts and/or civil process such as divorce and child
custody proceedings.

b. If victim is not willing to be photographed, note refusal in ACTIVITY
LOG (PD112-145), and if possible, have victim sign entry.

4, Notify the patrol supervisor and request that the domestic violence digital
camera be brought to location.

Only the domestic violence digital camera should be used to capture domestic violence evidence.

No other cameras are compatible with the domestic violence capture station located in the area of
the precinct desk. PERSONAL PHOTOGRAPHIC EQUIPMENT (CAMERAS, CELL

PHONES, HANDHELD COMPUTERS, ETC) SHOULD NEVER BE USED TO CAPTURE
DOMESTIC VIOLENCE EVIDENCE. The Domestic Violence Digital Photo Database will be
the sole repository for photographs of all domestic violence evidence.

- Respond to requested location with domestic violence digital camera and
direct photographs be taken of complainant/victim (if willing) and scene,
if appropriate.

Domestic violence prevention officers are also equipped with a digital camera. When
working in the field, domestic violence prevention officers should respond to the scene
where a domestic violence digital camera has been requested.

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UNIFORMED 6. Take digital photographs as necessary, including but not limited to:
MEMBER OF a. Visible injuries
THE SERVICE
NOTE Injuries may not be initially prominent, therefore it is crucial for domestic violence

NOTE

NOTE

prevention officers and investigators to take follow-up photographs for bruises that
appear at a later time. When a victim makes a complaint of substantial pain (Assault 3
Degree), and there are no visible injuries, do not take photos.

b. Damaged property

c. Weapons

d. Overall scene to illustrate items in disarray, indicating domestic
violence or distress in home

e. Other types of evidence (i.e., pictures of caller-id box for

aggravated harassment or flowers/notes for stalking, blood on the
clothes/hands or ripped clothing of the victim/perpetrator, etc.)

f. Both pages (Data Sheet and Statement of Allegations written and
signed by victim) of the completed New York State Domestic
Incident Report (DCJS 3221-6/05)

g. Photo of the victim from the waist up, providing context for the series of
photos.

The digital camera is to be set at the highest resolution setting to maximize the quality of the photo
with minimal file size. Each photo takes approximately one megabyte of data storage. Therefore,
memory cards containing 256 megabytes of memory will be able to hold approximately 256 photos;
those with 512 megabytes will hold around 512 photos, etc. The storage capacity of the camera
enables members of the service to take as many photos as needed to depict any evidence and/or
violence in the home. There is no longer a limit to the number of photos or “sets” of photos that
can be taken in domestic violence cases. Do not set the digital camera memory to “internal
memory.” The camera must be set to capture photos on a memory card. Photos saved on the
internal memory mode cannot be uploaded into the Domestic Violence Digital Photo Database.

7. Ensure that the phrase “DIGITAL PHOTOS” is documented on the “Evidence
Collection” portion of the COMPLAINT REPORT WORKSHEET
(PD313-152A) and the “Incident #” obtained from the first caption on the initial
screen in the Domestic Violence Digital Photo Database is documented in
“Invoice #” caption.

a. This “Incident #” is used by personnel at the District Attorney’s Office
to retrieve digital photos during pre-arraignment.

Polaroid film will no longer be used to capture domestic violence evidence. Therefore,
PROPERTY CLERK INVOICES (PD521-141) will no longer be used to voucher
domestic violence digital photos. Domestic violence digital photos will be uploaded into
the Domestic Violence Digital Photo Database and NOT vouchered. Members are
reminded that the photographing of evidence does not substitute for the collection and
invoicing of physical evidence (i.e., weapons, clothing, etc.). Members will adhere to
Patrol Guide 218-01, “Invoicing Property — General Procedure” when invoicing
physical evidence.

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UNIFORMED 8. Ensure that the “Photo Section” of the New York State Domestic
MEMBER OF Incident Report is completed after the victim completes the “Statement
THE SERVICE of Allegations/Supporting Deposition” section located on page two of the
(continued) Domestic Incident Report.

ARREST 9. Upload all digital photos taken from the digital camera into the Domestic
cee” Violence Digital Photo Database by docking the camera and following
ARRESTING the prompts from the system.
OFFICER/
ASSIGNED
OFFICER
NOTE Domestic violence digital photos must be uploaded into the Domestic Violence Digital
Photo Database by the arresting/assigned officer at the earliest opportunity. Digital
photos are needed by the District Attorney’s Office in arrest cases and by detective
investigators on open cases.
10. | Adhere to the following in all cases:
a. Ensure that the Domestic Violence Digital Photo Database is
logged on as DVCAM. No password is necessary.
b. Place the camera on the docking station and press the space bar
(camera can be on or off).
c. Close the “Internal Memory” and “Picture Card” windows that appear.
d. Click on the “Domestic Violence Camera” icon.
€. If the pending box appears, close it and click on the “Capture” icon.
f. Check off the appropriate relationship(s) to associate the specific
domestic relationship.
g. Answer all mandatory fields designated by an asterisk.
h. Click on “add” to add photos.
i. Click on photo thumbnails pertaining to the file, then click “OK”
and await transfer of photos.
ile Complete the captions located beneath the photos.
k. Click on “Save” and the photos are now saved to the database.
NOTE Instructions for the use of the domestic violence digital camera and the uploading and
hosting of domestic violence photos into the Domestic Violence Photo Database are
maintained at the desk, the Command Reference Library, and are available on the
Department Intranet site.
UNIFORMED 11. | Make an ACTIVITY LOG entry indicating date, time, number of digital photos
MEMBER OF taken, name and tax number of the officer taking the photos, name and tax
THE SERVICE number of officer uploading the images, and the name of the Assistant District
Attorney confirming receipt if arrest is effected.
12. Ensure the COMPLAINT REPORT (PD313-152) number is obtained
and entered into the system as soon as practicable.
13. Print one copy of the image(s) using the thumbnail feature and attach it to

the NYS Domestic Incident Report.

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DOMESTIC
VIOLENCE
PREVENTION
OFFICER

NOTE

ADDITIONAL
DATA

DESK OFFICER

NOTE

14. Review all completed NYS Domestic Incident Reports, finalized
COMPLAINT REPORT printouts, and the Domestic Violence Digital Photo
Database daily to make certain that the digital photos for domestic violence were
taken as necessary.

15. Perform follow-up with victims and take digital photos as necessary.

16. Host digital photos after the COMPLAINT REPORT has been finalized
in the On Line Complaint System (OLCS).

Once hosted, information contained in the OLCS will automatically transfer to occupy
captions in the Domestic Violence Digital Photo Database.

The uploading of domestic violence digital photos into the Domestic Violence Digital
Photo Database does not require a unique password. The universal password
“DVCAM” should be used to gain access to the system. Once uploaded, personnel at
the District Attorney’s Office can instantly view domestic violence digital photos.
Therefore, arresting/assigned officers MUST upload any domestic violence photos from
the camera into the database during arrest processing (arrest evidence) or prior to the
end of their tour (non-arrest/investigatory evidence), whichever applies.

The domestic violence camera and capture station must be maintained in the vicinity of the
command desk. Commanding officers will ensure that digital cameras are accessible at all times.
Desk officers will allow access to uniformed members of the service to upload/host digital photos
into the Domestic Violence Digital Photo Database. When not in use, domestic violence digital
cameras must be left on the docking station to maintain a charge. The docking station also
serves as a conduit to upload domestic violence photos.

The digital cameras assigned to the command are to be included in the commands
computer self-inspection worksheet and inventory.

MAINTENANCE OF THE DOMESTIC VIOLENCE DIGITAL PHOTO CAMERA

17. At the beginning of each tour:
a. Inspect all domestic violence digital cameras assigned to patrol.
b. Ensure docking station, cables and memory cards (check inside
cameras) are operational.
C. Make a Command Log entry of results.

If during inspection, cameras/related equipment are found to be inoperable, the desk officer will
immediately notify the Domestic Violence Unit. The Domestic Violence Unit is open Monday
though Friday, between 0600 and 1800 hours. However, a message must be left during non-office
hours. Domestic Violence Unit personnel will return the call as soon as possible. In the event that
the computer where the digital camera capture station resides becomes disabled/inoperable, the
desk officer will immediately call the MISD Help Desk and the Domestic Violence Unit. An entry of
these notifications will be made in the Telephone Record.

If during inspection, the loss or theft of any domestic violence camera equipment is
discovered, be guided by P. G. 219-20, “Loss or Theft of Department Property.”

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PATROL 18. | Make a Command Log entry when signing out or returning a domestic
SUPERVISOR violence digital camera.

DOMESTIC 19. Inspect all domestic violence digital cameras each day to ensure
VIOLENCE operability and that all photos are uploaded into the Domestic Violence
PREVENTION Digital Photo Database.
OFFICER a. If upon inspection, any domestic violence cameras/related
equipment are missing, lost or inoperable, notify the desk officer.
DOMESTIC 20. Ensure that digital photos are being taken with domestic violence digital
VIOLENCE cameras by first responding officers, as appropriate.
SERGEANT 21. Take corrective action when necessary.
TRAINING 22. Ensure that all uniformed members of the service assigned to the
SERGEANT command are properly trained in the taking and uploading of domestic
violence digital photos.
RELATED Family Offenses/Domestic Violence (P.G. 208-36)
PROCEDURES Invoicing Property — General Procedure (P.G. 218-01)
Family Offenses and Domestic Violence Involving Uniformed Members of the Service
(P.G. 208-37)
FORMS AND ACTIVITY LOG (PD112-145)
REPORTS COMPLAINT REPORT WORKSHEET (PD313-152A)

COMPLAINT REPORT (PD313-152)
PROPERTY CLERK INVOICE (PD521-141)
New York State Domestic Incident Report (DCJS 3221-6/05)

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PATROL GUIDE

 

Section: Arrests Procedure No: 208-70

 

PROCESSING OF NEW YORK STATE DOMESTIC INCIDENT
REPORTS IN THE DOMESTIC VIOLENCE DATABASE

 

 

 

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PURPOSE

PROCEDURE

UNIFORMED
MEMBER OF
THE SERVICE

NOTE

DESK OFFICER

COMMAND
CLERK

NOTE

To improve the tracking, monitoring, and analysis of domestic violence cases.

Whenever entering information from a command’s past/current New York State
Domestic Incident Report (DCJS-3221) into the new Domestic Violence
Database System:

1. Submit hard copy of Domestic Incident Report and any related
paperwork [COMPLAINT REPORT (PD313-152), AIDED REPORT
WORKSHEET (PD304-152b), ON LINE BOOKING SYSTEM
ARREST WORKSHEET (PD244-159) etc.] to desk officer.

The current New York State Domestic Incident Report (DCJS-3221) does not have
captions for certain pertinent information that is collected in the Domestic Violence
Database System. Therefore, the following information is to be elicited from the person(s)
involved and recorded in the NARRATIVE OF THE INCIDENT:

a. Alcohol involved

b. Narcotic involved

C. Verbal dispute only

d. Court and Docket number of Order of Protection

é. Voucher number of photos (if taken)

f Social security number and alias of persons involved (record next to

name if space allows, otherwise include name and information in
narrative)
g. Reporting officer’s tax number in box titled “OFFICER LD. NO.”

2. Review hard copy of Domestic Incident Report and any related
paperwork for accuracy and completeness and sign.
33 Direct command clerk to enter information from the Domestic Incident

Report into the Domestic Violence Database System.

4, Enter information from the Domestic Incident Report into the Domestic
Violence Database System and print out computer copy.

Members of the service entering Domestic Incident Reports into the Domestic Violence
Database System should not attempt to translate victims’ statements that are written in
languages other than English, regardless of whether or not the member is proficient in
the other language. However, members should indicate in the “Victims Statement of
Allegations/Supporting Deposition” field that the statement is written in a language
other than English (i.e., “Victim’s statement is completed in apparent Spanish”).

5s Attach hard copy and computer copy and present them to the desk officer
for review.

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NOTE With the implementation of new, linked computer systems, the command clerk must enter

DESK OFFICER

DOMESTIC
VIOLENCE
OFFICER/
DESIGNATED
REVIEWER

NOTE

DESK
OFFICER/
DOMESTIC
VIOLENCE
SUPERVISOR

all associated reports and obtain numbers from the other appropriate computer systems
(OLCS, Aided, etc.) PRIOR TO entering the data into the Domestic Violence Database
System. The command clerk will record all appropriate numbers on the hard copy of the
Domestic Incident Report. It is imperative that these numbers are obtained prior to the
entry of the Domestic Incident Report since these numbers link to the other systems and
links information contained therein and CAN NOT be entered or retrieved later. In the
event that a Domestic Incident Report is entered into the database without these
numbers, it MUST BE VOIDED and re-entered with this information.

The command clerk will prepare a Domestic Incident Report for walk-in complainants
reporting domestic incidents whenever the command’s domestic violence officer is not
available to do so.

6. Review computer copy and compare to the hard copy for accuracy and
completeness.
7. Forward both copies to the command’s domestic violence

officer/designated reviewer.

8. Obtain previously assigned victim and/or offender numbers or generate
new numbers, as appropriate, from database.
a Query the Domestic Violence Database System for the following offender
information:
a. Warrant history
b. Investigation card status
C. Gun license/permit status
d. Criminal recidivist history
a Targeted narcotics violator status
i Domestic violence history

Results of the New York State Police Information Network (NYSPIN) inquiries
concerning orders of protection, probation status and arrest history (Booking
Arraignment Disposition System [BADS]), and complaint history (On Line Complaint
System [OLCS]), will be entered onto the appropriate captions of the Domestic Incident
Report review screen.

10. Ensure that all computer inquiries regarding the offender are completed
during the tour in which they are commenced.
a. Attach printouts of all inquiries listed in step 9 to the Domestic
Incident Report.
11. Forward both copies of the Domestic Incident Report back to the desk
officer or domestic violence supervisor for endorsement

12. Review the Domestic Incident Report computer summary screen.

a. Ensure that all Domestic Incident Reports and the necessary
offender queries are completed.

13. Utilize the supervisory sign off function to finalize each Domestic
Incident Report thereby entering it into the Domestic Violence Database
System.

a. Print finalized copy of Domestic Incident Report.

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NOTE Any Domestic Incident Report prepared by a command other than PRECINCT OF

DESK
OFFICER/
DOMESTIC
VIOLENCE
SUPERVISOR
(continued)

DOMESTIC
VIOLENCE
PREVENTION
OFFICER

PRECINCT
DETECTIVE
SQUAD
MEMBER

ARREST
PROCESSING
OFFICER

COMMAND
INTEGRITY
CONTROL
OFFICER

OCCURRENCE, must be entered, reviewed and finalized by the COMMAND OF

 

REPORT. The hard copy of the Domestic Incident Report will then be faxed to the
precinct of occurrence. The original will be maintained in a file folder marked, “Out of
Command DIRs”. (This folder is not required if prepared by a PSA, and the incident
occurs within the precincts that they cover).

14.

15,

16.

17.

18.

19,

20.

21.

22.
23.

Void any duplicate Domestic Incident Reports and those entered
incorrectly or in error.

Prepare daily a Domestic Incident Index utilizing the computer’s “Domestic

Violence Query-Status Report” for all the Domestic Incident Reports

entered the previous day.

a. Maintain a copy of the Index in the Domestic Violence office and at
the desk.

Utilize the computer’s add/view “follow-up comments function” to enter

new information (e.g. results of home visits, phone contacts, additional

information, etc.) related to the Domestic Incident Report.

Utilize the computer’s “High Propensity Offender” function to add and

remove offenders to the commands High Propensity List.

Enter case closing status of any resolved domestic violence case into the
Domestic Violence Database System.

Complete a “Global Name Check” of the offender and victim in all

domestic violence arrest cases.

a. Print out the result screen and the previously prepared Domestic
Incident Report(s).

Forward the name check results and Domestic Incident Report(s) with

the arrest package to the District Attorney’s Office.

Provide members of the service access to the Domestic Violence
Database System utilizing the administrator options of the computer as
appropriate.

Maintain a list of authorized users assigned to the command.

Print, review, and maintain on a monthly basis, a list of all voided
Domestic Incident Reports entered into the Database.

a. Take corrective action where appropriate.

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ADDITIONAL
DATA

RELATED
PROCEDURES

FORMS AND
REPORTS

Members of the service are reminded that the hard copy of the DIR, which should
include a statement written in the complainant/victim’s own handwriting, is the primary
source for information regarding domestic incidents. The handwritten victim's statement
is crucial to the District Attorney during the prosecution of a domestic violence case and
can serve as the accusatory instrument, when necessary. When a domestic violence
officer, precinct detective squad member, or other interested member of the service is
investigating a domestic incident and the Domestic Violence Database indicates that the
victim's statement is written in a language other than English, he or she should refer to
the hard copy of the DIR to obtain the victim’s handwritten statement. If the need for a
translator arises, members of the service should comply with P.G. 212-90, “Guidelines
for Interaction with Limited English Proficient (LEP) Persons”.

Domestic Incident Reports that are prepared by officers assigned to commands other
than precinct of occurrence (i.e. Housing Bureau personnel, etc.) who have access to the
Domestic Violence Database System, will be responsible for the data entry, review and
finalization of the Domestic Incident Report. The follow-up investigation will be the
responsibility of the precinct of occurrence or housing PSA, as appropriate.

Due to the sensitive nature of the Database information, access is limited to authorized
users and is controlled using CESN passwords. The command’s integrity control officer
provides access to the system; however, revoked passwords must be re-activated by the
integrity control officer assigned to the Management Information Systems Division.

Commands will access the Domestic Violence Database System from local area network
(LAN) workstations that have Internet Explorer Browser installed. Once the system
issues a sequential number and the Domestic Incident Report is reviewed by the
domestic violence officer, only a supervisor from the precinct of occurrence is permitted
to make modifications. Additionally, once a desk officer/domestic violence supervisor
has finalized a Domestic Incident Report for entry into the Domestic Violence Database
System, no modifications will be allowed. (This does not include domestic violence
officer notes or detective case closing).

Domestic Violence Prevention Officer (P.G. 202-29)

Family Offenses/Domestic Violence (P.G. 208-36)

Family Offenses and Domestic Violence Involving Uniformed or Civilian Members Of
The Service (P.G 208-37)

Family Offense/Domestic Violence (Photographing Visible Injuries/Damaged Property)
(P.G. 208-39)

AIDED REPORT WORKSHEET (PD304-152b)

COMPLAINT REPORT (PD313-152)

ON LINE BOOKING SYSTEM ARREST WORKSHEET (PD244-159)
New York State Domestic Incident Report (DCJS-3221)

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DOMESTIC
VIOLENCE
PREVENTION
OFFICER

NOTE

PATROL GUIDE

 

Section: Duties and Responsibilities Procedure No: 202-29

 

DOMESTIC VIOLENCE PREVENTION OFFICER

 

 

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Perform duty in uniform, unless specifically authorized to do otherwise.

a. Tours of duty will be set in accordance with command needs.

Review New York State Domestic Incident Reports (DCJS-3221) for

accuracy and completeness.

a. Indicate verification by completing the “Reviewed by” caption on
the Domestic Incident Report.

b. Forward copy of Domestic Incident Report to precinct’s
Domestic Violence Investigator.

Review each tour’s SPRINT Resource Log and ensure that a Domestic

Incident Report has been prepared for all assignments in which a 10-93F,

10-92F, or 10-90F radio code disposition was given.

Maintain a command Domestic Incident Report Log to record each

Domestic Incident Report, captioned as follows:

PRECINCT SPRINT NO. DATE OF REPORT - VICTIM’S NAME
SERIAL NO.

Maintain a Domestic Incident Report file comprised of all Domestic
Incident Reports prepared within the command, or forwarded from other
commands.

The original Domestic Incident Report (Domestic Violence Prevention Officer’s copy)
and the first copy (Domestic Violence Investigator’s copy) will be filed in the command
of occurrence. If the command of occurrence is other than complainant/victim’s
resident precinct and a Report is prepared, a photocopy of that Report will be
forwarded to the Domestic Violence Prevention Officer assigned to the complainant/
victim ’s resident precinct.

6.

Enter information obtained from all Domestic Incident Reports into the

command’s Domestic Incident Report database, updating existing files as

new information concerning a particular complainant or household
becomes available.

Identify and monitor those locations and victims (including all members

of the household who may be at risk) requiring special attention by

utilizing information obtained from all available sources.

a. Enter all persons/families listed on the command High Propensity
List (HPL) into the Domestic Incident Report (DIR) database
utilizing the “Case Management” feature.

b. Update the online HPL information during the first week of each
month after conferring with the commanding officer.

Maintain contact with complainants, i.e., telephone calls, letters, home

visits, or interviews at the command, depending on the complainant’s

needs and preferences.

a. Use caution when attempting to contact victims so as not to alert
the alleged offender of police intervention.

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NOTE In an effort to avoid compromising ongoing investigations, the Domestic Violence

DOMESTIC
VIOLENCE
PREVENTION
OFFICER
(continued)

NOTE

Prevention Officer will confer with the precinct detective squad or Special Victims
Squad investigator concerned, before contacting victims whose open complaints have
been referred to either squad. Prior to conducting a family/home visit, notify
Communications by utilizing radio code “10-75F” and give the address, and if
applicable, the apartment number of the visit.

9. Document any visits to domestic violence victim(s) and/or offender(s)
where documented domestic violence has occurred as follows:

a. If home visit was successful (i.e., contact was made with victim
and/or offender), record the visit in Home Visit Log and complete
DOMESTIC VIOLENCE HOME VISIT CHECKLIST
(PD313-148).

b. If home visit was unsuccessful (i.c., contact was not made with
victim and/or offender), record visit in Home Visit Log.

c. Submit completed DOMESTIC VIOLENCE HOME VISIT
CHECKLIST to desk officer or immediate supervisor for review
and signature.

10. Maintain file of all completed DOMESTIC VIOLENCE HOME VISIT
CHECKLISTS prepared within the command.

11. Effect summary arrests in adherence with P.G. 208-36, “Family
Offenses/Domestic Violence,” if during the course of a home visit,
interview, etc., a wanted offender is present.

a. Ensure that a computer warrant check on individuals identified on
the Domestic Incident Report has been completed prior to
conducting a home visit, interview, etc., and that results have been
entered on the Domestic Incident Report.

12. _ Relay information concerning victims or locations requiring special attention
to other command personnel, including the Domestic Violence Investigator,
community policing officers, youth officers, and sector officers.

13. Furnish complainants/victims with information concerning their rights,
particularly the Right of Election, providing explanation if necessary.

a. Advise complainants/victims of the availability of Orders of
Protection.

14. Assist in the serving of Orders of Protection, when requested.

The above responsibility addresses all Orders of Protection served between
Family/Household - Expanded Definition members, NOT the temporary Orders of
Protection from Family Court as outlined in P.G. 212-57, “Service Of Orders Of
Protection By Uniformed Members Of The Service.”

15. Advise complainants of the availability of counseling, assistance, and
shelter.

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ADDITIONAL

DATA

NEW °

DOMESTIC VIOLENCE HOME VISIT CHECKLISTS, are potential Rosario material,
and must be maintained at the precinct of occurrence. If an arrest is effected, the

arresting officer must ensure that the Assistant District Attorney is provided with a copy of
the DOMESTIC VIOLENCE HOME VISIT CHECKLIST in regards to the incident.

When requested, the domestic violence prevention officer will make the DOMESTIC
VIOLENCE HOME VISIT CHECKLIST prepared regarding the incident available to
an Assistant District Attorney.

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PATROL GUIDE

 

Section: Arrests

Procedure No:

208-70

 

PROCESSING OF NEW YORK STATE DOMESTIC INCIDENT
REPORTS IN THE DOMESTIC VIOLENCE DATABASE

 

 

 

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PURPOSE

PROCEDURE

UNIFORMED
MEMBER OF
THE SERVICE

NOTE

DESK OFFICER

COMMAND
CLERK

NOTE

To improve the tracking, monitoring, and analysis of domestic violence cases.

Whenever entering information from a command’s past/current New York State
Domestic Incident Report (DCJS-3221) into the new Domestic Violence
Database System:

1. Submit hard copy of Domestic Incident Report and any related
paperwork [COMPLAINT REPORT (PD313-152), AIDED REPORT
WORKSHEET (PD304-152b), ON LINE BOOKING SYSTEM
ARREST WORKSHEET (PD244-159) etc.] to desk officer.

The current New York State Domestic Incident Report (DCJS-3221) does not have
captions for certain pertinent information that is collected in the Domestic Violence

Database System. Therefore, the following information is to be elicited from the person(s)
involved and recorded in the NARRATIVE OF THE INCIDENT:

a. Alcohol involved

b. Narcotic involved

C. Verbal dispute only

d. Court and Docket number of Order of Protection

é. Voucher number of photos (if taken)

i Social security number and alias of persons involved (record next to
name if space allows, otherwise include name and information in
narrative)

g. Reporting officer’s tax number in box titled “OFFICER LD. NO.”

2. Review hard copy of Domestic Incident Report and any related
paperwork for accuracy and completeness and sign.
3. Direct command clerk to enter information from the Domestic Incident

Report into the Domestic Violence Database System.

4, Enter information from the Domestic Incident Report into the Domestic
Violence Database System and print out computer copy.

Members of the service entering Domestic Incident Reports into the Domestic Violence
Database System should not attempt to translate victims’ statements that are written in
languages other than English, regardless of whether or not the member is proficient in
the other language. However, members should indicate in the “Victims Statement of
Allegations/Supporting Deposition” field that the statement is written in a language
other than English (i.e., “Victim’s statement is completed in apparent Spanish”).

5. Attach hard copy and computer copy and present them to the desk officer
for review.

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NOTE With the implementation of new, linked computer systems, the command clerk must enter

DESK OFFICER

DOMESTIC
VIOLENCE
OFFICER/
DESIGNATED
REVIEWER

NOTE

DESK
OFFICER/
DOMESTIC
VIOLENCE
SUPERVISOR

all associated reports and obtain numbers from the other appropriate computer systems
(OLCS, Aided, etc.) PRIOR TO entering the data into the Domestic Violence Database
System. The command clerk will record all appropriate numbers on the hard copy of the
Domestic Incident Report. It is imperative that these numbers are obtained prior to the
entry of the Domestic Incident Report since these numbers link to the other systems and
links information contained therein and CAN NOT be entered or retrieved later. In the
event that a Domestic Incident Report is entered into the database without these
numbers, it MUST BE VOIDED and re-entered with this information.

The command clerk will prepare a Domestic Incident Report for walk-in complainants
reporting domestic incidents whenever the command’s domestic violence officer is not
available to do so.

6. Review computer copy and compare to the hard copy for accuracy and
completeness.

7. Forward both copies to the command’s domestic violence
officer/designated reviewer.

8. Obtain previously assigned victim and/or offender numbers or generate
new numbers, as appropriate, from database.

9. Query the Domestic Violence Database System for the following offender
information:

Warrant history

Investigation card status

Gun license/permit status

Criminal recidivist history

Targeted narcotics violator status

Domestic violence history

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Results of the New York State Police Information Network (NYSPIN) inquiries
concerning orders of protection, probation status and arrest history (Booking
Arraignment Disposition System [BADS]), and complaint history (On Line Complaint
System [OLCS]), will be entered onto the appropriate captions of the Domestic Incident
Report review screen.

10. Ensure that all computer inquiries regarding the offender are completed
during the tour in which they are commenced.
a. Attach printouts of all inquiries listed in step 9 to the Domestic
Incident Report.
11. Forward both copies of the Domestic Incident Report back to the desk
officer or domestic violence supervisor for endorsement

12. Review the Domestic Incident Report computer summary screen.

a. Ensure that all Domestic Incident Reports and the necessary
offender queries are completed.

13. Utilize the supervisory sign off function to finalize each Domestic
Incident Report thereby entering it into the Domestic Violence Database
System.

a. Print finalized copy of Domestic Incident Report.

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